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 3
 4                         UNITED STATES DISTRICT COURT
 5                        EASTERN DISTRICT OF CALIFORNIA
 6   ROBERT HARRIS,                                1:07-CV-01210-OWW-SMS
 7                                Plaintiff,       MEMORANDUM DECISION RE:
 8                                                 DEFENDANT’S MOTION FOR
                     v.                            SUMMARY JUDGMENT OR, IN THE
 9                                                 ALTERNATIVE, PARTIAL
     CITY OF FRESNO,                               SUMMARY JUDGMENT/SUMMARY
10                                                 ADJUDICATION
                                  Defendant.
11
12                                 I. INTRODUCTION

13        Before the court is Defendant City of Fresno’s motion for

14   summary   judgment     or,    in    the     alternative,     partial    summary

15   judgment/summary adjudication pursuant to Rule 56 of the Federal

16   Rules of Civil Procedure. The following background facts are taken

17   from the parties’ submissions in connection with the motion and

18   other documents on file in this case.1

19                                 II.     BACKGROUND

20        Plaintiff Robert Harris is an African-American male who is

21   employed by the City of Fresno (“City”) in its Water Division.               He

22   was initially hired by the City as an Engineering Technician I.              On

23   approximately   April   1,    1992,    he   was   promoted   to   his   current

24
          1
25          “A district court does not, of course, make ‘findings of
     fact’ in ruling on a summary judgment motion. Findings of fact are
26   made on the basis of evidentiary hearings and usually involve
27   credibility determinations.” Rand v. Rowland, 154 F.3d 952, 957
     n.4 (9th Cir. 1998); see also Cottrell v. Caldwell, 85 F.3d 1480,
28   1486 (11th Cir. 1996).

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 1   position as Engineering Technician II. Plaintiff is still employed
 2   by the City in its Water Division and he has not sought employment
 3   outside of the Water Division or the City since 2002.                During his
 4   entire tenure with the City, Plaintiff has received nothing but
 5   positive performance reviews. (Doc. 39-3 at 2; Doc. 38-6 at 6.)
 6         In his lawsuit against the City, Plaintiff contends that,
 7   during his employment with the City, he has been discriminated
 8   against and harassed due to his race.             Events and statements that
 9   compromise Plaintiff’s claims of discrimination and harassment are
10   set forth below.
11   A.    Reclassification To Senior Technician
12         In November 2002, the Personnel Services Department (“HR
13   Department”) received a request by Plaintiff to reclassify his job
14   position from Engineering Technician II to Senior Engineering
15   Technician.    (Doc. 38-6 at 7.)        In response to the request, the HR
16   Department followed its usual procedures by having an analyst: (1)
17   obtain    a   supervisor’s      statement    of    job    duties;   (2)   review
18   documents;    and    (3)    conduct    comparative    audits.    (Id.)    It    is
19   undisputed    that    the    analyst    recommended      that   Plaintiff’s    job
20   classification remain the same, as Plaintiff’s job duties were
21   consistent with those of an Engineering Technician II, and the
22   recommendation was approved. (Id.)
23         In June 2003, the HR department issued a written decision,
24   signed by Juanita Chavez, in which it determined that Plaintiff was
25   properly classified as an Engineering Technician II based upon his
26   current job duties. (Id.)        After allowing Plaintiff an opportunity
27   to provide additional information supporting his reclassification
28   request, the HR Department’s prior decision was reaffirmed on or

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 1   about December 8, 2003, as reflected in a writing signed by Chavez,
 2   and reaffirmed a third time on May 4, 2004, as reflected in a
 3   writing signed by Nancy Kast of HR. (Id. at 8.)           In doing so, the
 4   HR Department concluded that Plaintiff’s duties corresponded with
 5   the job classification of Engineering Technician II, and did not
 6   reach the level of responsibility that is reflective of a Senior
 7   Engineering Technician. (Id. at 8.)
 8         As to the decision-makers involved in the reclassification
 9   denial, Chavez and Kast, Plaintiff testified at his deposition that
10   he was unaware of any personalized racial animus on their part.
11   (Id.)    Nevertheless, Plaintiff believes (but the City does not
12   concede) that other non-African-American workers with the “same
13   experience and qualifications” as Plaintiff have been reclassified
14   from Engineering Technician II to Senior Engineering Technician and
15   paid at a higher rate. (Pl. Decl. ¶ 11.)
16   B.    Project Manager Position
17         In February 2006, the City posted a promotional opportunity
18   for “Project Manager.” (Doc. 38-6 at 9.)             In 2006, Plaintiff
19   applied for the Project Manager position. (Doc. 39-3 at 4.)               As
20   part of the test that all applicants were required to take to be
21   considered    for   the   Project   Manager   position,    Plaintiff      was
22   interviewed by an outside, three-member panel which included David
23   Fey, a Caucasian. (Doc. 39-3 at 4; Doc. 38-6 at 10.)          After the HR
24   process, which included this outside panel review, Plaintiff was
25   14th on the eligible list. (Doc. 38-6 at 10.)          The HR Department
26   sent a list of the top seven (7) candidates for Project Manager to
27   the Water Division pursuant to the Fresno Municipal Code (Plaintiff
28   was not on the list, as he was 14th). (Doc. 38-6 at 10.) The

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 1   individual ultimately selected by the Water Division, Mark Hughson,
 2   a Caucasian, was on the eligible list and was interviewed by the
 3   Division. (Id.; Doc. 39-3 at 5.)
 4         Prior to serving on the outside panel, Fey once worked for the
 5   Water Division alongside Plaintiff. (Pl. Dep. 80:17-18; 80:24-
 6   81:8.)      According    to   Plaintiff,   one   day    during   Plaintiff’s
 7   employment,      in     Plaintiff’s   presence,        Fey   said    “Arnold
 8   Schwarzenigger” instead of “Schwarzenegger.”            (Pl. Dep. 84:2-6.)
 9   Plaintiff did not appreciate this comment. (Pl. Dep. 84:9.)
10   C.    Sick Leave
11         As of 2004, Plaintiff’s sister-in-law was ill with cancer.
12   (Pl. Dep. 253:23-254:1.)        Plaintiff asked his supervisor, Neil
13   Montgomery, for time off from work so that Plaintiff could, along
14   with his wife, visit his sister-in-law. (Doc. 39-3 at 8.)                 In
15   response to this request, Montgomery admonished Plaintiff for
16   overuse of sick time and warned Plaintiff that he would have a
17   letter on his desk when he returned from his visit.              (Id. at 9.)
18   Because he worried about the repercussions, Plaintiff did not visit
19   his sister-in-law. (Id.) The sister-in-law eventually passed away
20   on January 2, 2005, before Plaintiff had an opportunity to see her
21   again. (Id; Pl. Dep. 254:24.)         Plaintiff does not dispute that
22   throughout his years with the City, Plaintiff has been cautioned
23   about his use of sick leave and about the need to comply with the
24   City policy. (Doc. 38-6 at 11.)
25   D.    Request For Safety Boots And Transfer
26         Montgomery and other supervisors went through training in
27   which they were advised of the utility of slip-on, steel-toe boots
28   for individuals who worked out in the field on a periodic basis.

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 1   (Doc. 38-6 at 11.)           In 2005, Plaintiff started performing well
 2   abandonments and he worked in the field on a periodic basis. (Id.)
 3   Plaintiff asked Montgomery to authorize steel-toe work boots (not
 4   the slip-on boots) for Plaintiff’s use. (Id.; Montgomery Decl ¶ 6;
 5   Pl. Dep. 10-13.) Montgomery requested that, instead, Plaintiff try
 6   the slip-on, steel-toe boots to see if they meet his needs. (Doc.
 7   38-6    at   11.)     According     to   Plaintiff,     these   boots    were   not
 8   appropriate. Jagged objects could penetrate the bottom sole of the
 9   slip-on boots because the bottom sole was not thick enough. (Doc.
10   39-3 at 6.)        Rather than the slip-on, steel-toe boots, Plaintiff
11   wanted “work boots” or “safety boots” which, apparently, have a
12   thicker sole.
13          According to Plaintiff, on a prior occasion, Montgomery had
14   authorized safety boots for a man named “Buster” who Plaintiff
15   believes is Hispanic or Latino. (Pl. Dep. 123:18-20; 124:6-7.)
16   While Montgomery did not authorize safety boots for Plaintiff’s
17   use, unknown to Montgomery, Plaintiff later acquired authorization
18   for safety boots from Montgomery’s superior, Lon Martin. (Doc. 39-3
19   at 7; Pl. Dep. 136:24-25.)           The City does not dispute that third
20   party contractors, who Plaintiff had to interact with, required him
21   to wear safety boots while on-site. (Doc. 39-3 at 6.)
22          Shortly after Plaintiff secured authorization from Martin,
23   there    was   a    brief    conversation    in   the    parking   lot    between
24   Plaintiff,     Martin       and   Montgomery.     (Doc.    39-3    at    7.)    When
25   Montgomery’s failure to issue the safety boot authorization came
26   up, Montgomery became visibly angry and told Martin that he wanted
27   Plaintiff out of his department. (Doc. 39-3 at 7.)                      Montgomery
28   admits that he “became increasingly frustrated” after it was

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 1   revealed that Plaintiff had “obtained approval elsewhere” and
 2   Plaintiff continued to take Montgomery’s time on this issue.
 3   (Montgomery Decl. ¶ 7.)
 4         According to Martin, after this conversation in the parking
 5   lot, he had discussions and/or meetings with Plaintiff, Plaintiff’s
 6   union representative, Garth Gaddy, Montgomery, and others as to the
 7   situation     and   the   potential    solutions.    (Martin   Decl.   ¶   6.)
 8   According to Martin, he believed that Plaintiff was having ongoing
 9   disputes with Montgomery. (Martin Decl. ¶ 5.)                  Plaintiff was
10   transferred, within the Water Division, to Gaddy’s supervision in
11   the Telemetry Section.       (Doc. 38-6 at 12-13; Doc. 39-3 at 7; Gaddy
12   Decl. ¶ 2.) According to Martin, he believed Gaddy would be a
13   better fit as supervisor, and he wanted Plaintiff to continue
14   performing well abandonments.          (Martin Decl. ¶ 7.)2     According to
15   Plaintiff, he has spent increased time in the field as a result of
16   the transfer, and has not been able to “display his full repertoire
17   of skills and abilities.” (Doc. 38-6 at 13.)            Plaintiff protested
18   the transfer (Doc. 39-3 at 7), and he feels isolated from the rest
19   of his team in his new section (Pl. Decl. ¶ 21.)                  He admits,
20   however, that he has had no problems with Gaddy’s supervision and
21   has not been the subject of any negative reviews or disciplinary
22   conduct. (Doc. 38-6 at 13.)
23   E.    Alleged Improper Racial Comments
24         Prior    to   his    transfer,       and   allegedly   throughout    his
25   employment, Plaintiff has heard several comments which he finds
26
27         2
           Plaintiff is not the only employee Martin has transferred to
28   another supervisor. (Martin Decl. ¶ 9.)

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 1   objectionable.
 2        1.     Denis Peyton
 3               a.     “I got your back; white power, brother”
 4        Peyton worked in the City’s Water Division.                 Peyton left the
 5   City’s employ in 2002. (Doc. 38-6 at 4.)               It is undisputed that,
 6   while employed by the City, Peyton reviewed some of Plaintiff’s
 7   work. (Doc. 39-3 at 2.)
 8        At his deposition, Plaintiff recalled a conversation that
 9   occurred in the mid-90's between Martin McIntyre and Peyton.
10   Plaintiff overheard Peyton say to McIntyre: “Hey, man, I got your
11   back; white power, brother.” (Pl. Dep. 166:24-25.)
12               b.     “Okay, back to work slave”
13        Later, in 2000, Plaintiff was having a conversation with
14   Peyton and two coworkers, Rick and Donna. (Doc. 39-3 at 3.)                   Just
15   after this conversation concluded, and as Rick and Donna were
16   walking away, Peyton stated            “Okay, back to work slave.” (Id.)
17   Plaintiff drafted an e-mail to Montgomery in which Plaintiff
18   purported to document the conversation. (Pl. Dep. Ex. 18.) As
19   stated in Plaintiff’s e-mail, he asked Peyton what he meant by the
20   comment and Peyton responded that “Rick was the slave/indentured
21   slave becasue (sic) he is paid.” (Id.)              Plaintiff felt that Peyton
22   was referring to Plaintiff. (Pl. Dep. 171:9.) Ultimately, after an
23   investigation into the matter, Peyton was advised that he should be
24   sensitive    about    comments   made    in     the   presence    of   coworkers.
25   (Montgomery Decl. ¶ 11, Ex. A.)
26               c.     “Schwarzenigger”
27        According       to   Plaintiff,   Montgomery      and   Peyton    were   once
28   discussing       movies   and   Peyton       said   “something    about   Arnold

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 1   ‘Schwarzenigger.’ And I said, What did you say? And he got quiet

 2   and that was it.” (Pl. Dep. 62:20-22.)

 3                  d.    “Black man”

 4          In 2001, Peyton attended a work meeting with others. Upon

 5   concluding the meeting, as he was leaving, Peyton walked past

 6   Plaintiff and, according to Plaintiff, Peyton uttered the words

 7   “black man.” (Pl. Dep. 175:11-15, Ex. 20.)                 Plaintiff asked Peyton

 8   what he said, and Peyton replied with “nothing.” (Pl. Dep. 176:10,

 9   Ex. 20.) In Plaintiff’s words, the “black man” utterance was a

10   “mumble” and “inaudible.” (Pl. Dep. 177:24-178:1.)                   The matter was

11   investigated        (Montgomery    Decl.       ¶   3),   and   the   Water   Division

12   concluded that “it is unknown if the words were spoken or not”

13   (Montgomery Decl. Ex. B).

14          2.      Robert Little

15                  a.    “There are niggers and then there are blacks”

16   Little worked for the City as a Water Supervisor I. (Doc. 39-3 at

17   3.)    Sometime in the late 1990's to 2002 time-frame (Doc. 38-6 at

18   4; Little Decl. ¶ 2), Plaintiff had a conversation with Little in

19   which Little stated “there are niggers and then are blacks.” (Pl.

20   Dep. 182:15-16.) Neither party disputes that such a comment was

21   made.       Indeed, Little admits in his declaration:

22          In the late 1990's or 2000-01, I recall a conversation
            with Plaintiff in which Plaintiff was upset by Senator
23          John McCain’s use of the term ‘gooks.’ I indicated that
            Plaintiff had to look at the situation from Mr. McCain’s
24          perspective as a prisoner of war, and that does not mean
            he categorized all Asians by that term. Later that day,
25          the conversation continued and I stated something to the
            effect that there are good and bad categorizations within
26          each race: whites and honkies, hispanics and spics,
            asians and gooks, blacks and niggers....
27
     (Little Decl. ¶ 2.)         Over a year later (Pl. Dep. 185:2-3), as
28

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 1   Plaintiff recalls, Little told Plaintiff about an employee who was

 2   fired for using the word “niggardly” in a public meeting (Pl. Dep.

 3   185:22-24;192:8).

 4             b.    “Niggardly”

 5        According to Plaintiff, Little told him “I got a joke for you”

 6   and Plaintiff stated he did not “want to hear your jokes and you

 7   know what I’m talking about.” (Pl. Dep. 186:6-8.) Little indicated

 8   “it’s not like that at all” (Pl. Dep. 186:9), Plaintiff agreed to

 9   listen, and Little said “What do you think of a black man getting

10   fired for using the word ‘niggardly’? And I asked him, Didn’t I

11   just tell you not to go there? Didn’t I just tell you not to do

12   that? He said, Well, don’t you think it’s funny? It’s not the same.

13   ‘Niggardly’ and ‘nigger’ is not the same.” (Pl. Dep. 185:11-18.)

14   Later, Little provided Plaintiff with documentation on the word

15   “niggardly” and eventually the dictionary was brought out. (Pl.

16   Dep. 190:6-11; 190:16-191:6; 193:15-19.)

17        In his declaration, Little recounts the situation differently:

18        In approximately 2001-2002, I recall that Plaintiff
          brought up a story about a politician’s use of the term
19        ‘niggardly.’ I did not know what the word meant, so
          Plaintiff and I looked it up together. Thereafter, I
20        explained that according to the dictionary the term was
          not derived from the term ‘nigger’ and had a different
21        meaning, and that Plaintiff should therefore not be so
          offended by its use. Because Plaintiff appeared upset by
22        the term and our conversation, I discussed the
          conversation with an African-American supervisor in the
23        Department, Jim Wilson, and Mr. Wilson advised me that
          there was nothing to worry about.
24
25   (Little Decl. ¶ 3.)    At his deposition, Montgomery recalled that,

26   before the initiation of Plaintiff’s lawsuit, someone told him

27   (Montgomery)   that   Little   used   the   word   “nigger”   in    front   of

28   Plaintiff. (Doc. 39-3 at 4; Montgomery Dep. 47:14.)                Montgomery

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 1   testified that he did not pursue any action after hearing this:

 2   “What – there’s nothing for me to do. I don’t even know who I heard

 3   it from.       There are 150 people in the water yard, and rumors and

 4   discussion go, and you hear things. You have no idea whether

 5   there’s    a    basis   for   them.   So,   no,   I   didn’t   do   anything.”

 6   (Montgomery Dep. 48:1-10.).

 7        3.        Dick Short

 8                  a.   “Boy”

 9        According to Plaintiff’s testimony, Dick Short is a water

10   production supervisor. (Pl. Dep. 199:25-200:1). It is undisputed

11   that, from 2004 to 2006, Short used the word “boy” more than once

12   when referring to African-American men. (Doc.             39-3 at 8.)     When

13   asked about those occasions, Plaintiff testified that, on one

14   occasion, when talking about Tiger Woods, Short said “that boy is

15   good.” (Pl. Dep. 57:8.)          On another occasion, Short referred to

16   some African-American man as “a big boy.” (Pl. Dep. 55:22-23.)

17                  b.   “If you can’t get your niggers to do this, I’ll get
                         mine.”
18
          According to Plaintiff, at some point in time, Short said to
19
     another individual, “[i]f you can’t get your niggers to do this,
20
     I’ll get mine.” (Doc. 39-3 at 9; Pl. Dep. 325:1-4.)            The individual
21
     to whom Short was speaking is believed to be Kenny Jennings, a
22
     Caucasian. (Pl. Dep. 325:20-1.)
23
          4.        Montgomery
24
          On March 12, 2004, in response to a group e-mail from Leslie
25
     Smith, an executive secretary, about a “slotted map box holder
26
     thingie” and a “hanging/pull down map holder thingie,” Montgomery
27
     wrote back that Plaintiff “understands technical terms such as
28

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 1   ‘holder thingie.’” (Pl. Dep. Ex. 24, Montgomery Decl. ¶ 14.)

 2   Plaintiff did not find any humor in Montgomery’s e-mail. (Pl. Dep.

 3   Ex. 24.)

 4   F.     Administrative Remedies And Complaint

 5          It is undisputed that Plaintiff filed a single complaint with

 6   the DFEH on or about August 21, 2006. (Doc. 38-6.)3 Plaintiff filed

 7   an initial complaint in federal court on August 20, 2007 (Doc. 1)

 8   and    a   first    amended   complaint       on    March   5,   2008   (Doc.   13).

 9   Plaintiff’s        first   amended    complaint,      the   operative    pleading,

10   contains     five     claims,   and     they       are:   (1)    disparate   impact

11   discrimination based on race in violation of Title VII, 42 U.S.C.

12   § 2000e et seq.; (2) disparate treatment based on race in violation

13   of Title VII; (3) retaliation in violation of Title VII; (4)

14   deprivation of civil rights under 42 U.S.C § 1981; (5) and race

15   discrimination and harassment under California’s Fair Employment

16   and Housing Act (“FEHA”). (Doc. 13 at 1.)

17   G.     The City’s Motion

18          Plaintiff alleges causes of action for violations of Title

19   VII, FEHA, and 42 U.S.C. § 1981. The City moves for summary

20   judgment on the grounds that “Plaintiff cannot maintain these

21   claims as they are barred by the statute of limitations; Plaintiff

22   cannot satisfy the requisite elements; and he cannot satisfy

23   Monell. Plaintiff cannot establish any materially adverse action

24   was taken against him for racial or retaliatory reasons, or that he

25
26          3
            In addition, the Scheduling Conference Order in this case
27   (Doc. 18) contains admitted facts, and one of them reads:
     “Plaintiff filed a complaint with the DFEH/EEOC on or about August
28   21, 2006.”

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 1   was the subject of any severe or pervasive harassment.” (Doc. 25 at

 2   2.) The City also moves for summary adjudication on several listed

 3   issues, some of which overlap with the foregoing. (Id.)

 4                          III.   STANDARD OF DECISION

 5         Summary judgment, or summary adjudication, is appropriate when

 6   "the pleadings, the discovery and disclosure materials on file, and

 7   any affidavits show that there is no genuine issue as to any

 8   material fact and that the movant is entitled to judgment as a

 9   matter of law." Fed. R. Civ. P. 56(c).             The movant "always bears

10   the initial responsibility of informing the district court of the

11   basis   for   its   motion,   and   identifying        those   portions   of   the

12   pleadings, depositions, answers to interrogatories, and admissions

13   on file, together with the affidavits, if any, which it believes

14   demonstrate the absence of a genuine issue of material fact."

15   Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (internal

16   quotation marks omitted).

17           Where the movant will have the burden of proof on an issue at

18   trial, it must "affirmatively demonstrate that no reasonable trier

19   of fact could find other than for the moving party." Soremekun v.

20   Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir.2007).                       With

21   respect to an issue as to which the non-moving party will have the

22   burden of proof, the movant "can prevail merely by pointing out

23   that there is an absence of evidence to support the nonmoving

24   party's case." Soremekun, 509 F.3d at 984.

25         When a motion for summary judgment is properly made and

26   supported, the non-movant cannot defeat the motion by resting upon

27   the   allegations    or   denials   of     its   own    pleading,   rather      the

28   "non-moving party must set forth, by affidavit or as otherwise

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 1   provided in Rule 56, ‘specific facts showing that there is a

 2   genuine issue for trial.'" Soremekun, 509 F.3d at 984. (quoting

 3   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)). “A

 4   non-movant's bald assertions or a mere scintilla of evidence in his

 5   favor are both insufficient to withstand summary judgment.” FTC v.

 6   Stefanchik, 559 F.3d 924, 929 (9th Cir. 2009). “[A] non-movant must

 7   show a genuine issue of material fact by presenting affirmative

 8   evidence from which a jury could find in his favor.” Id. (emphasis

 9   in original). "[S]ummary judgment will not lie if [a] dispute about

10   a material fact is ‘genuine,’ that is, if the evidence is such that

11   a reasonable jury could return a verdict for the nonmoving party."

12   Anderson, 477 U.S. at 248.              In determining whether a genuine

13   dispute    exists,   a    district   court    does   not   make    credibility

14   determinations; rather, the "evidence of the non-movant is to be

15   believed, and all justifiable inferences are to be drawn in his

16   favor." Id. at 255.

17                            IV. DISCUSSION AND ANALYSIS

18   A.     Disparate Impact Claim

19          Claims of disparate impact “involve employment practices that

20   are facially neutral in their treatment of different groups but

21   that in fact fall more harshly on one group than another.” Raytheon

22   Co. v. Hernandez, 540 U.S. 44, 52-3 (2003) (internal quotation

23   marks omitted).      “To establish a prima facie case of disparate

24   impact    under   Title    VII,   the    plaintiff[]   must:      (1)   show   a

25   significant disparate impact on a protected class or group; (2)

26   identify the specific employment practices or selection criteria at

27   issue; and (3) show a causal relationship between the challenged

28   practices or criteria and the disparate impact.” Hemmings v.

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 1   Tidyman’s Inc., 285 F.3d 1174, 1190 (9th Cir. 2002).             “A plaintiff

 2   establishes a prima facie case of disparate impact by showing a

 3   significant disparate impact on a protected class caused by a

 4   specific, identified, employment practice or selection criterion.”

 5   Stout v. Potter, 276 F.3d 1118, 1121 (9th Cir. 2002). In a

 6   disparate impact case, “[t]he plaintiff must actually prove the

 7   discriminatory impact at issue.” Stout, 276 F.3d at 1122 (internal

 8   quotation marks omitted).

 9          The City argues that, in discovery, Plaintiff was unable to

10   identify any policy or practice of the City that has a disparate

11   impact on African-Americans or come forth with any evidence that

12   supports   this   claim.      Plaintiff     testified   that    he   could   not

13   identify any “written policy” of the City that, when applied by the

14   City, adversely impacted African-Americans. (Pl. Dep. 271:16.)

15   When    questioned   further,   Plaintiff     explained   the    “policy”     or

16   procedure of the City he believed adversely affected African-

17   Americans: “I have to say that as a personal and a political policy

18   that’s not even written, it’s how people are, it’s what they

19   believe and they do what they feel they have the authority to do,

20   and they do it under the color of law or under the authority of

21   their    positions.”   (Pl.     Dep.    271:22-272:2.)    This       conclusory

22   testimony is insufficient to create a triable issue that the City

23   has some employment practice, selection criterion, or custom that

24   has a significant racially adverse impact on a protected class or

25   group.    In a written discovery response (Rubin Decl. Ex. C at 11),

26   Plaintiff provided no description of what specific employment

27   practice or criterion he believed exists, or how it disparately

28   impacted a protected class or group.

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 1         Plaintiff does not even mention his disparate impact claim in

 2   his opposition brief. Plaintiff’s only apparent attempt to salvage

 3   this claim is his response to the City’s separate statement of

 4   undisputed      material     facts.    There,       Plaintiff    briefly      states:

 5   “Plaintiff testified that over his time with Defendant, it has

 6   become clear to him that only non African-Americans are promoted

 7   through the ranks. Plaintiff indicated that there is discrimination

 8   in the promotion process.” (Doc. 38-6 at 21.)                  In support of these

 9   arguments,     Plaintiff     cites     to       paragraph    twelve    (12)   of   his

10   declaration.

11         Paragraph 12 of Plaintiff’s declaration states, “[a]s a result

12   of these experiences, I have concluded that Defendant’s promotional

13   process     has   the   effect        of    discriminating       against      African

14   Americans.” The “experiences” that Plaintiff refers to are his own

15   alleged experiences in not being awarded the Project Manager

16   position, which was given to a Caucasian candidate, even though

17   Plaintiff felt qualified for the job, and not being reclassified as

18   a     Senior       Engineering         Technician            despite     requesting

19   reclassification.       According      to       Plaintiff,    other    non-African-

20   American workers, “including Neil Montgomery and Litu Bucu, have

21   been re-classified” to the Senior Engineering position and they

22   allegedly      have   the    “same    experience       and    qualifications”      as

23   Plaintiff. (Pl. Decl. ¶ 11.)

24         Plaintiff’s declaration is insufficient to create a triable

25   issue.    Plaintiff has not identified one other African-American

26   who, allegedly, has not been promoted on account of race, nor has

27   Plaintiff    pointed    to    any     evidence      which     suggests   that,     for

28   promotions, African-Americans are disproportionately affected when

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 1   compared to other racial groups. See Pottenger v. Potlatch Corp.,

 2   329 F.3d 740, 749 (9th Cir. 2003) (“Summary judgment is appropriate

 3   when statistics do not support a disparate impact analysis”); see

 4   also Lawrence v. Dep’t of Interior, 525 F.3d 916, 921 (9th Cir.

 5   2008) (affirming grant of summary judgment in favor of the employer

 6   on a disparate impact claim, stating that plaintiff “presented

 7   evidence that the BIA's policy affected some Indian employees, but

 8   he presented no evidence that the failure to provide actual and

 9   timely notice disproportionately affected Indians more than other

10   racial groups.”); Paige v. California, 291 F.3d 1141, 1145 (9th

11   Cir. 2002) (recognizing that “[s]tatistical evidence is used to

12   demonstrate how a particular employment practice causes a protected

13   minority group to be under represented in a specific area of

14   employment (for example, hiring or promotion)” and stating that the

15   “statistical analysis must show a disparity that is sufficiently

16   substantial”) (internal quotation marks omitted).

17        In addition, to advance a Title VII disparate impact claim,

18   the employee must be able to pinpoint some “facially neutral

19   employment practice,” Paige, 291 F.3d at 1145 (internal quotation

20   marks omitted), that is causing the alleged disparate impact, and

21   Plaintiff is unable to do so here. Although Plaintiff conclusorily

22   claims   there   is   discrimination       in   the   “promotion   process,”

23   Plaintiff has not demonstrated (or even attempted to demonstrate)

24   what compromises the discriminatory promotion process nor does he

25   describe   the   “face”   of   this   alleged     practice   to    permit   an

26   evaluation of its impact.

27        For the reasons discussed above, with respect to his disparate

28   impact claim, Plaintiff has failed to create a genuine issue of

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 1   material fact.        Summary judgment on this claim is GRANTED in favor

 2   of the City.

 3   B.     Disparate Treatment Claim

 4          Federal law prohibits an employer from taking an adverse

 5   employment action against an employee because of his or her race.

 6   See 42 U.S.C. § 2000e-2;           Leong v. Potter, 347 F.3d 1117, 1124 (9th

 7   Cir. 2003).       “For a prima facie case, [the plaintiff] must offer

 8   evidence       that    give[s]        rise     to    an    inference      of     unlawful

 9   discrimination, either through the framework set forth in McDonnell

10   Douglas Corp. v. Green or with direct or circumstantial evidence of

11   discriminatory intent.” Vasquez v. County of Los Angeles, 349 F.3d

12   634, 640 (9th Cir. 2003) (footnotes omitted). In other words, “the

13   plaintiff first must establish a prima facie case of discrimination

14   by coming forward with evidence that an employer considered race in

15   its employment decisions.” Doe v. Kamehameha Schs./Bernice Pauahi

16   Bishop Estate, 470 F.3d 827, 837 (9th Cir. 2006).

17          To create a prima facie case under the McDonnell Douglas

18   framework, the plaintiff “must show that: (1) he belonged to a

19   protected class; (2) he was qualified for his job; (3) he was

20   subjected to an adverse employment action; and (4) similarly

21   situated       employees    not    in    his      protected   class      received      more

22   favorable treatment.” Kang v. U. Lim Am., Inc., 296 F.3d 810, 818

23   (9th    Cir.    2002);     see    also   Leong,      347    F.3d   at    1124.    If    the

24   "plaintiff       establishes      a    prima      facie    case”   a    presumption     of

25   discrimination arises and “the burden of production shifts to the

26   employer to articulate a legitimate, nondiscriminatory reason for

27   the employment decision." Leong, 347 F.3d at 1124. "If the employer

28   offers a nondiscriminatory reason, the burden returns to the

                                                  17
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 1   plaintiff to show that the articulated reason is a pretext for

 2   discrimination." Id.       The plaintiff can show that the employer’s

 3   articulated reason is pretextual “either directly by persuading the

 4   court that a discriminatory reason more likely motivated the

 5   employer or indirectly by showing that the employer's proffered

 6   explanation is unworthy of credence.” Villiarimo v. Aloha Island,

 7   Air, Inc., 281 F.3d 1054, 1062 (9th Cir. 2002) (internal quotation

 8   marks omitted).

 9          Apart from the McDonnell Douglas framework, a plaintiff can

10   raise an inference of discrimination (i.e., create a prima facie

11   case) with circumstantial or direct evidence of discriminatory

12   intent. Vasquez, 349 F.3d at 640.         If the plaintiff attempts to do

13   so    and   the   employer    provides     evidence   of   a   legitimate,

14   nondiscriminatory reason for the adverse employment action, to

15   avoid summary judgment, the plaintiff’s evidence must be such as to

16   create a triable issue as to discriminatory intent. See McGinest v.

17   GTE Serv. Corp., 360 F.3d 1103, 1123 (9th Cir. 2004) (recognizing

18   that whether an employee uses the McDonnell Douglas approach or

19   “relies on direct or circumstantial evidence of discriminatory

20   intent,” the employee must “counter” the employer’s legitimate,

21   nondiscriminatory reason for its adverse action in such a manner as

22   to create a genuine issue as to discriminatory intent); Wallis v.

23   J.R. Simplot Co., 26 F.3d 885, 889 (9th Cir. 1994) (recognizing

24   that whether the employee uses the McDonnell Douglas framework or

25   other evidence to create a prima facie case, when the employer

26   offers a legitimate, nondiscriminatory reason for its adverse

27   action, the question is whether a “rational trier of fact could”

28   conclude that the “employer’s action was taken for impermissibly

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 1   discriminatory reasons”); Fed. Deposit Ins. Corp. v. Henderson, 940
 2   F.2d 465, 473 & n.16 (9th Cir. 1991).
 3        1.    Statute Of Limitations
 4        The   City     asserts    that        Plaintiff’s     Title     VII    race
 5   discrimination claim is barred by the statute of limitations.                  The
 6   City seeks summary adjudication on the issue that Plaintiff “cannot
 7   pursue alleged adverse employment actions that took place prior to
 8   October 25, 2005, for purposes of Title VII.” (Doc.                25 at 2.)
 9        Any adverse employment action “which is not made the basis
10   for a timely charge is the legal equivalent of a discriminatory act
11   which occurred before the statute was passed” and, as such, “it is
12   merely an unfortunate event in history which has no present legal
13   consequences.” United Air Lines, Inc. v. Evans, 431 U.S. 553, 558
14   (1977). “Discrimination claims under Title VII ordinarily must be
15   filed with the EEOC within 180 days of the date on which the
16   alleged    discriminatory     practice         occurred.     42      U.S.C.     §
17   2000e-5(e)(1).    However,    if    the      claimant    first      ‘institutes
18   proceedings’     with   a   state     agency    that     enforces     its      own
19   discrimination laws-a so-called ‘deferral’ state-then the period
20   for filing claims with the EEOC is extended to 300 days.” Laquaglia
21   v. Rio Hotel & Casino, Inc., 186 F.3d 1172, 1174 (9th Cir. 1999).
22        California is a deferral state. Josephs v. Pac. Bell, 443 F.3d
23   1050, 1054 (9th Cir. 2006); Bouman v. Block, 940 F.2d 1211, 1219-20
24   (9th Cir. 1991).        Accordingly, the 300-day limitation period
25   applies.   It is undisputed that Plaintiff filed his charge of
26   discrimination with the DFEH, a local agency, on or about August
27   21, 2006. Three hundred days prior to that is October 25, 2005, a
28   fact which neither party disputes.          The alleged adverse employment

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 1   actions must fall “within the 300-day limit” Bouman, 940 F.2d at
 2   1219, or else they are barred by the statute of limitations.
 3   “[D]iscrete discriminatory acts are not actionable if time barred,
 4   even   when    they       are   related   to    acts   alleged    in    timely   filed
 5   charges.” Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114
 6   (2002); see also RK Ventures, Inc. v. City of Seattle, 307 F.3d
 7   1045, 1061 (9th Cir. 2002) ("[T]he statute of limitations runs
 8   separately from each discrete act.").
 9                 a.     Reclassification
10          Plaintiff alleges he was improperly denied reclassification in
11   the 2003-2004 time-frame. (Doc. 38-6.)                  More specifically, it is
12   undisputed that after he submitted a request for reclassification
13   in November 2002, the HR department decided, in June 2003, not to
14   reclassify Plaintiff, and, after Plaintiff had an opportunity to
15   submit more information, the HR’s decision was reaffirmed on
16   December 8, 2003 and again on May 4, 2004. (Doc. 38-6 at 7-8.)
17   Plaintiff claims that these decisions were based on his race.
18   These three decisions all occurred well outside the 300-day limit.
19   In hopes of escaping the statute of limitations, Plaintiff raises
20   two arguments.
21          First, Plaintiff argues that he requested “re-classification
22   to this position [Senior Engineering Technician] multiple times,
23   both orally and in writing (AUMF #22)” and his requests were
24   “repeatedly denied.” (Doc. 38-5 at 9.)                 Plaintiff makes this brief
25   argument suggesting that the City made an additional decision
26   denying his reclassification – apart from the three time-barred
27   decisions      –    and    this    decision     fell    within    the    statute   of
28   limitations        period.        Plaintiff’s     argument,      and    the   asserted


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 1   evidence supporting it, does not overcome the City’s statute of
 2   limitations defense.
 3        Plaintiff     does   not    address      the   statute      of   limitations
 4   directly, i.e., Plaintiff does not even state or argue that any of
 5   the “repeated[]” denials occurred within the 300-day limit.                    The
 6   evidence Plaintiff relies on in connection with “AUMF # 22” is
 7   deposition testimony from Plaintiff which does not discuss any
 8   additional denial of reclassification beyond the three time-barred
 9   denials discussed above.
10        Plaintiff’s    declaration       is   equally    unavailing.      Plaintiff
11   declares: “Since 1995, I have been performing the duties of Senior
12   Engineering   Technician,       but   have     remained     classified    as   an
13   Engineering Technician II, despite multiple requests to be re-
14   classified.” (Pl. Decl. ¶ 10.)        There is no mention of the dates of
15   these   alleged    “requests.”        There    is    also   no    statement    in
16   Plaintiff’s declaration that actual decisions were made in response
17   to these “multiple” requests. Plaintiff does not provide the names
18   of any alleged decision-makers involved or other salient details
19   which would permit an inference that an actual decision was made
20   within the 300-day limit in response to his asserted “multiple
21   requests.”    For these reasons, Plaintiff’s “repeatedly denied”
22   argument does not overcome the statute of limitations issue.
23        Second, Plaintiff argues that until his recent transfer to
24   Gaddy’s supervision, his pay was less than what it should have been
25   had he been properly classified as a Senior Engineering Technician.
26   (Doc. 38-5 at 9.) In other words, Plaintiff argues that even though
27   the adverse employment action (the decision not to reclassify him)
28   occurred outside the statute of limitations period, the effect of


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 1   that decision (the inequitable compensation level) was experienced
 2   within the statute of limitations period.          Under this theory,
 3   Plaintiff was underpaid until the time he was transferred.          From
 4   the briefing and declarations, it appears that Plaintiff was
 5   transferred some time around December 2005 (which is after October
 6   25, 2005), and so the effect (the decreased compensation level)
 7   could have occurred within the 300-day limit.4
 8        The statute of limitations runs separately from each discrete
 9   discriminatory act, not the ill effect of the act.      See Morgan, 536
10   U.S. at 114; Evans, 431 U.S. at 558; Garcia v. Brockway, 526 F.3d
11   456, 462-63 (9th Cir. 2008).    This is the usual rule.    When applied
12   in this case, this rule would eviscerate Plaintiff’s argument and
13   bar his disparate treatment claim to the extent it is based on the
14   three decisions (with the most recent occurring in May 2004) to
15   deny Plaintiff’s reclassification request.       However, a recent act
16   passed by Congress, which neither party discusses, may impact the
17   analysis.
18            On January 29, 2009, the Lilly Ledbetter Fair Pay Act of 2009
19   (Pub. L. No. 111-2) was enacted into law. It amended 42 U.S.C. §
20   2000e-5(e).     As amended, that section now provides:
21        For purposes of this section, an unlawful employment
          practice occurs, with respect to discrimination in
22        compensation in violation of this subchapter, when a
          discriminatory compensation decision or other practice is
23        adopted, when an individual becomes subject to a
          discriminatory compensation decision or other practice,
24
25
          4
             Both   Montgomery   and   Martin,  in   their   respective
26   declarations, place the parking lot work boot discussion, which
27   preceded the transfer, in November/December 2005. In his DFEH
     complaint, Plaintiff places the transfer on or about late December
28   2005. (Doc. 35 Ex. D.)

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 1        or when an individual is affected by application of a
          discriminatory compensation decision or other practice,
 2        including   each   time  wages,   benefits,   or   other
          compensation is paid, resulting in whole or in part from
 3        such a decision or other practice.
 4   42 U.S.C. § 2000e-5(e)(3)(A) (emphasis added).          Congress deemed
 5   this amendment retroactive to May 28, 2007: “[t]his Act, and the
 6   amendments made by this Act, take effect as if enacted on May 28,
 7   2007 and apply to all claims of discrimination in compensation
 8   under title VII of the Civil Rights Act of 1964 . . . . that are
 9   pending on or after that date.” Pub. L. 111-2, § 6.       The amendment
10   was in response to Ledbetter v. Goodyear Tire & Rubber Co., 550
11   U.S. 618 (2007).
12        In Ledbetter, the Supreme Court analyzed when the statute of
13   limitations begins to run on an employer’s “pay-setting decision”
14   that is allegedly discriminatory on the basis of sex. Ledbetter,
15   550 U.S. at 621.   The pay-setting decisions in Ledbetter were made
16   outside the statute of limitations period, but the effects of those
17   decisions, the receipt of reduced compensation, continued into the
18   limitations period. Id. at 623, 628. Drawing on prior precedent,
19   the Court concluded that the “charging period is triggered when a
20   discrete unlawful practice takes place. A new violation does not
21   occur, and a new charging period does not commence, upon the
22   occurrence of subsequent nondiscriminatory acts that entail adverse
23   effects resulting from the past discrimination.” Id. at 628.
24   “Because a pay-setting decision is a ‘discrete act,’ it follows
25   that the period for filing an EEOC charge begins when the act
26   occurs.” Id. at 621.     With respect to unlawful discrimination in
27   compensation, Congress disagreed with this analysis as evidenced by
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 1   the Lilly Ledbetter Fair Pay Act.             Now, as a result of the Act, for
 2   purposes of claims of discrimination in compensation, the ill
 3   effect of a prior discriminatory compensation decision or practice
 4   can be considered in the statute of limitations analysis.
 5        Plaintiff’s lawsuit was filed after May 28, 2007, after the
 6   Ledbetter retroactive date. The amendment applies in this case.
 7   Plaintiff    has    not   strictly       labeled    his     claim       as   one   for
 8   discrimination in compensation.                The substance of his claim,
 9   however, is that based on his qualifications and experience, he
10   should have been classified as a Senior Engineering Technician and
11   paid accordingly (i.e., earning more money).                     Plaintiff alleges
12   that the decision not to reclassify him as a Senior Engineering
13   Technician was illegally motivated by his race.                         According to
14   Plaintiff,   he    continued      to    receive    less    pay    (i.e.,     pay   not
15   commensurate with a Senior Engineering Technician position) until
16   he was transferred to Gaddy’s supervision.                No party has discussed
17   whether and to what extent the Lilly Ledbetter Fair Pay Act impacts
18   the statute of limitations issue in this case. Given that neither
19   party has raised or briefed this issue, and because the City’s
20   motion can be decided on another ground, it is unnecessary to
21   decide   whether    the   Lilly    Ledbetter       Fair    Pay    Act    brings    the
22   reclassification denials within the statute of limitations.
23               b.     Project Manager
24        The City does not contend that the decision to select another
25   candidate besides Plaintiff for the Project Manager position fell
26   outside the 300-day limit.             The parties do not dispute that the
27   City posted the opportunity for Project Manager position in 2006,
28
                                              24
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 1   a date within (or not outside) the 300-day limit.            The City's
 2   motion for summary adjudication on the statute of limitations issue
 3   is DENIED to the extent it pertains to the non-selection of
 4   Plaintiff for the posted Project Manager position.
 5              c.   Sick Leave
 6        In response to Plaintiff’s request for time off to visit his
 7   sister-in-law, Montgomery admonished Plaintiff for overuse of sick
 8   time and warned Plaintiff that he would have a letter on his desk
 9   when he returned from his visit. (Doc. 39-3 at 9.)         According to
10   the City, Plaintiff maintained at his deposition that he considered
11   Montgomery’s admonishment as a discriminatory act based on race.
12   This event had to have occurred prior to January 2, 2005 (when the
13   sister-in-law passed away).       Plaintiff cannot use Montgomery’s
14   admonishment, or Montgomery’s warning about having a letter on
15   Plaintiff’s desk, as a discrete, compensable adverse employment
16   action, as it is time-barred. Assuming Plaintiff advances such a
17   claim, summary judgment on this claim is GRANTED in favor of the
18   City.
19              d.   Refusal To Allow Plaintiff To Change His Training
                     Class
20
          According to the City, Plaintiff testified that he believes
21
     Montgomery’s refusal, in April/May 2005, to allow Plaintiff to
22
     change a training class was an adverse employment action based on
23
     his race. Plaintiff alleges Montgomery “refused to allow him to
24
     change his training class in April/May 2005.” (Doc. 38-6 at 2.)          In
25
     light of Plaintiff’s opposition briefing, it does not appear he
26
     relies on this event to support his race discrimination claim. In
27
28
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 1   any event, this event is time-barred and cannot be used as a
 2   discrete, actionable act of discrimination.               Assuming Plaintiff
 3   advances such a claim, summary judgment on this claim is GRANTED in
 4   favor of the City.
 5               e.     Work Boots And Transfer
 6        The    City    does   not   contend    that   the   alleged    refusal   to
 7   authorize work boots and the transfer of Plaintiff to another
 8   section fell outside the 300-day limit. Nor does the evidence
 9   support    such    an   inference.     The    City's     motion    for   summary
10   adjudication on the statute of limitations issue is DENIED to the
11   extent it pertains to the work boot incident and the transfer of
12   Plaintiff to another section.
13        2.     The Elements Of The Claim
14        The City contends that, to the extent Plaintiff’s Title VII
15   race discrimination claim survives the statute of limitations, it
16   nonetheless fails because Plaintiff cannot satisfy the requisite
17   elements.
18               a.      Reclassification
19        The City argues that there is no evidence that the City’s
20   decision to deny his reclassification request was motivated by his
21   race. Plaintiff testified at his deposition that he has was unaware
22   of any personalized racial animus on the part of the decision-
23   makers involved, Juanita Chavez and Nancy Kast.
24        In support of his prima facie case, Plaintiff argues: (1) he
25   “was performing all the job duties and functions of a Senior
26   Engineering Technician,” but was denied reclassification; and (2)
27   “Non African-American workers with the same experience and skills
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 1   were re-classed into this position.” (Doc. 38-5 at 9.)                     In his
 2   declaration,    Plaintiff     identified     these     non-African-American
 3   workers   as   Montgomery     and   Litu   Bucu.     For   several    reasons,
 4   Plaintiff’s argument is unpersuasive.
 5         First, although Plaintiff argues he was performing the job
 6   duties and functions of a Senior Engineering Technician, Plaintiff
 7   does not point to any evidence that shows how these “job duties and
 8   functions” coincide with what the employer considers or designates
 9   as the requisite job duties and functions of a classified Senior
10   Engineering Technician. Second, although Plaintiff’s declaration
11   states, in a conclusory fashion, that Montgomery and Bucu had the
12   “same experience and qualifications” as Plaintiff and were re-
13   classed to the Senior Engineering Technician position (Pl. Decl. ¶
14   11), Plaintiff does not explain or elaborate on what “experience”
15   and   “qualifications”   he   is    even   talking    about,   or    how    their
16   “experience” and “qualifications” are comparable to his own. Nor
17   does Plaintiff point to any evidence showing that his job duties
18   and functions were similar to Montgomery and Bucu’s job duties and
19   functions.
20         Even assuming, arguendo, Plaintiff could show a prima facie
21   case, the City has advanced a legitimate justification for the
22   decision. It is undisputed that an independent personnel analyst
23   recommended that Plaintiff’s job classification stay the same
24   because Plaintiff’s job duties were consistent with those of an
25   Engineering Technician II. (Doc. 38-6 at 7.) It is also undisputed
26   that HR issued a decision in June 2003 in which it determined that
27   Plaintiff was properly classified as an Engineering Technician II
28
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 1   based upon his job duties. (Doc. 38-6 at 7.)         This decision was
 2   affirmed twice.
 3        Plaintiff has not advanced sufficient evidence that the City’s
 4   determination that his job duties were those of an Engineering
 5   Technician II, not a Senior Engineering Technician, was a pretext
 6   for unlawful race discrimination.        Although Plaintiff insinuates
 7   that the City erred in its determination that his job duties
 8   corresponded to an Engineering Technician II position, this does
 9   not demonstrate that the City’s determination was pretextual. See
10   Villiarimo, 281 F.3d at 1063 (“Courts only require that an employer
11   honestly believed its reason for its actions, even if its reason is
12   foolish or trivial or even baseless.”) (internal quotation marks
13   omitted); Coleman v. Quaker Oats Co., 232 F.3d 1271, 1285 (9th Cir.
14   2000) (“That Quaker made unwise business judgments or that it used
15   a faulty evaluation system does not support the inference that
16   Quaker discriminated on the basis of age.”); Green v. Maricopa
17   County Cmty. Coll. Sch. Dist., 265 F. Supp. 2d 1110, 1128 (D. Ariz.
18   2003) (“The focus of a pretext inquiry is whether the employer's
19   stated reason was honest, not whether it was accurate, wise, or
20   well-considered. We do not sit as a superpersonnel department that
21   reexamines an entity's business decision and reviews the propriety
22   of the decision.”) (internal quotation marks omitted).
23        In the face of the City’s legitimate justification, Plaintiff
24   has not demonstrated pretext or otherwise created a triable issue
25   that he was denied reclassification because of his race. Summary
26   judgment in favor of the City on this claim is GRANTED.
27              b.     Project Manager
28
                                         28
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 1        The City contends that Plaintiff has no evidence to support
 2   his claim that not selecting him for the 2006 Project Manager
 3   position was based on his race.     Plaintiff ranked 14th on the list
 4   of applicants (something which Plaintiff does not dispute), and
 5   only the top seven were eligible for the position (which Plaintiff
 6   does not dispute).     These undisputed facts do not establish any
 7   discrimination.
 8        To establish a prima facie case, Plaintiff “must show that:
 9   (1) he belonged to a protected class; (2) he was qualified for his
10   job; (3) he was subjected to an adverse employment action; and (4)
11   similarly situated employees not in his protected class received
12   more favorable treatment." Kang, 296 F.3d at 818.             Here, the
13   adverse employment action is the City’s decision not to select
14   Plaintiff for the Project Manager position.
15        In support of his prima facie case, Plaintiff claims that he
16   was qualified for the job because he was invited to take the
17   employment test (i.e., interview before a panel).        Plaintiff also
18   argues that he had “overwhelming experience” (without describing
19   that particular experience) and that he had been performing the
20   duties associated with the position (without pointing to relevant
21   evidence) for some time already,5 which made him a solid candidate.
22
23        5
            The City believes Plaintiff is attempting to assert a
24   distinct intentional discrimination claim, and a retaliation claim,
     based on the theory that, since as far back as 1994, he has not
25   been given a project manager position or classification or paid
     commensurate with a project manager. It is not clear that Plaintiff
26   is really making such claims. The evidence shows, and Plaintiff
27   does not dispute, that he did not apply to become a project manager
     until the posted position arose in 2006. (Doc. 38-6 at 9.) There is
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 1   (Doc. 38-5 at 10.)    Plaintiff also points out that a non-African-
 2   American was ultimately selected for the position.
 3        Plaintiff points to other evidence (outside the McDonnell
 4   Douglas framework) in support of his prima facie case.         Plaintiff
 5   correctly notes that one of the three outside interviewers in the
 6   selection process was Fey.        At some point during Plaintiff’s
 7   employment, when Fey also worked in the Water Division, when
 8   pronouncing Arnold Schwarzenegger’s name Fey said “Schwarzenigger”
 9   in Plaintiff’s presence.
10        Whether viewed separately or in the aggregate, Plaintiff’s
11   evidence does not suggest that he was not selected for the Project
12   Manager position because of his race.
13        While Plaintiff, along with other candidates, may have been
14   invited to initially interview, Plaintiff’s subjective belief,
15   articulated in a conclusory fashion, that he was qualified for the
16   position does not establish that he was as qualified as the
17
18
     no evidence that the City made an adverse employment decision to
19   deny Plaintiff a position for which he never applied.        At his
     deposition, Plaintiff admitted that he “can’t say” (Pl. Dep. 69:15)
20   that there was some decision-maker involved since 1994 who decided
21   to keep Plaintiff out of a project manager position or deny him pay
     commensurate with such a position; rather, Plaintiff believes his
22   duties warranted higher pay than he was receiving. There is no
     evidence as to who that decision-maker would have been in any
23   event. Without any identifiable adverse employment decision or
24   action taken against Plaintiff, he cannot establish an intentional
     discrimination or retaliation claim. To the extent Plaintiff
25   attempts to assert a discrimination or retaliation claim based on
     being denied a project manager position or its associated pay,
26   apart from the denial that occurred with respect to the 2006
27   Project Manager position, summary judgment on such claims is
     GRANTED.
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 1   applicant who was ultimately selected or even as qualified as the
 2   top seven applicants. See Bradley v. Harcourt, Brace & Co., 104
 3   F.3d 267, 270 (9th Cir. 1996) (“[A]n employee's subjective personal
 4   judgments of her competence alone do not raise a genuine issue of
 5   material fact.”); Coleman, 232 F.3d at 1285 (same); see also
 6   Nichols v. S. Ill. University-Edwardsville, 510 F.3d 772, 784 (7th
 7   Cir. 2007) (concluding that the “subjective beliefs” of African-
 8   American plaintiffs “that they were as qualified or even more
 9   qualified” for a position upgrade than the non-African-Americans
10   the employer selected did not create a genuine dispute as to this
11   issue, and thus the plaintiffs failed to create a prima facie case
12   of race discrimination).6
13        That a non-African-American was ultimately selected for the
14   position and thus treated more favorably than Plaintiff is not, by
15   itself, suggestive of discrimination absent some evidence that
16   Plaintiff and the person selected were similarly situated in
17   material respects. See Moran v. Selig, 447 F.3d 748, 755 (9th Cir.
18   2006) (recognizing, in a Title VII case, that for the fourth
19   element of the prima facie case, “the individuals seeking relief
20   must demonstrate, at the least, that they are similarly situated to
21
          6
22          The fact that Plaintiff possessed, at one point in the past,
     a City-issued business card with the title “project manager” on it
23   does not show that Plaintiff was as qualified as the candidate
24   ultimately selected for the Project Manager position at issue (or
     those in the top seven). Montgomery explains in his declaration,
25   which Plaintiff does not refute, that, for a period of time, the
     Water Division permitted a number of individuals (including
26   Montgomery) to carry business cards that said “project manager” in
27   lieu of more nuanced titles, but this practice was discontinued.
     (Montgomery Decl. ¶ 9.)
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 1   those employees [allegedly receiving more favorable treatment] in
 2   all material respects.”); Leong, 347 F.3d at 1124 (upholding grant
 3   of summary judgment where employee failed to show that similarly
 4   situated employees were treated more favorably).        Here, Plaintiff
 5   has not demonstrated, nor even made any attempt to show, that he
 6   was similarly situated in material respects to the candidate
 7   selected or those in the top seven.
 8        Finally, there is no evidence whatsoever that Fey’s isolated,
 9   tasteless “Schwarzenigger” comment was directed at Plaintiff, close
10   in time to the adverse employment decision or made while Fey was
11   considering   Plaintiff   for   the    position.   At   his   deposition,
12   Plaintiff testified as follows regarding the comment:
13        A. And basically, one day he [Fey] was walking and he
          said something like Arnold – and he was talking to
14        somebody again and instead of saying Arnold’s name
          correctly, he said ‘Schwarzenigger.’ And I said, What did
15        you say? He came back and said, What did you mean, man?
          I said, What did you say? How did you say it? So he knows
16        that I don’t appreciate or wanted to be involved in any
          conversations of that sort.
17
          Q. When did that conversation take place?
18
          A. That is going to be – I know it was before he left.
19
          Q. Who was he talking to?
20
          A. He was just in passing and talking to somebody that
21        was in the room. We were in cubicle scenario and I was
          sitting down.
22
          Q. As you sit here today, do you have any understanding
23        that he had retaliatory animus against you?
24        A. I don’t know.
25        Q. Did you and David Fey get along okay when you worked
          together.
26
          A. I think we got along and we were cordial.
27
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 1   (Pl. Dep. 84:2-25.)          This random comment from Fey, not directed at
 2   Plaintiff, made at some unknown point in time, with no apparent or
 3   evident connection to the adverse employment decision, is a stray
 4   remark that does not give rise to an inference that racial animus
 5   negatively impacted Fey’s rating of Plaintiff for the Project
 6   Manager position. See Merrick v. Farmers Ins. Group, 892 F.2d 1434,
 7   1438-39 (9th Cir. 1990) (recognizing that “stray” remarks are
 8   insufficient to raise an inference of discrimination and concluding
 9   that a comment by the decision-maker that he selected a candidate
10   for a promotion because the candidate was a “bright, intelligent,
11   knowledgeable young man” was a stray remark that did not raise an
12   inference of age discrimination); Peters v. Shamrock Foods Co., 262
13   F. App’x 30, 32 (9th Cir. 2007) (concluding that a “mom” comment
14   was a stray remark, stating “a single comment related to a separate
15   employment         action   made    two   years      prior   to    [the   plaintiff’s]
16   nonselection for the Food Service Sales Manager position is not
17   direct evidence of [gender] discrimination.”); Nesbit v. Pepsico,
18   Inc.,    994       F.2d   703,    705   (9th    Cir.   1993)      (concluding     that    a
19   superior’s comment, not tied directly to the adverse employment
20   decision, that “[w]e don’t necessarily like grey hair” did not
21   support       an    inference      of   age    discrimination).           There    is    no
22   indication that Fey’s comment was spoken with a tone of hostility,
23   and Plaintiff admitted that he and Fey got along and were cordial
24   when Fey worked in the Water Division.                  Plaintiff has not provided
25   any rating scores by the three panel members (including Fey) and
26   thus there is no evidence that Fey actually rated Plaintiff lower
27   than    the    other      panel    members.         Similarly,     Plaintiff      has   not
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 1   provided any evidence that Fey rated Plaintiff lower than other
 2   candidates.
 3        Even assuming, arguendo, Plaintiff’s evidence could create an
 4   inference     of   racial   discrimination,           the   City     has   advanced     a
 5   legitimate justification for the decision.                      After three panel
 6   members evaluated a pool of applicants based on certain criteria,
 7   Plaintiff     ranked   14th    on   the    list,      and     only   the    top     seven
 8   candidates were eligible for selection. Plaintiff does not dispute
 9   that he did not make the cutoff. Plaintiff’s evidence does not
10   adequately demonstrate that the articulated reason he was not
11   selected – because he ranked 14th on the list, and only the top
12   seven are considered – is pretextual. There is no evidence that,
13   based on evaluation criteria, Plaintiff should have ranked in the
14   top seven.     Even if Plaintiff’s ranking was mistaken in his eyes,
15   an unwise decision is not an unlawfully discriminatory decision and
16   does not demonstrate pretext.         The isolated comment from Fey – one
17   member of a three member outside selection panel – does not alter
18   the equation.      Fey’s single comment is insufficient to demonstrate
19   pretext or otherwise create a genuine dispute as to the alleged
20   illegal motive behind the adverse decision. See Coleman, 232 F.3d
21   at 1285 (concluding that although a plaintiff, Jeney, proffered
22   “sufficient evidence to raise a question of fact as to whether one
23   member   of    Quaker's       management       used     the    words       ‘young    and
24   promotable,’” when discussing what type of employee the company was
25   looking for, “this is not sufficient to raise a question of fact as
26   to whether the reasons Quaker gave for laying Jeney off were
27   pretexts for age discrimination”); Henderson, 940 F.2d at 473-74 &
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 1   n.16 (concluding that a single comment – “[w]ho’s going to bank
 2   with you downtown? After all, you’re a minority bank” – made by a
 3   decision-maker who refused to permit an African-American CEO of a
 4   minority-owned bank to open a branch office in downtown Seattle was
 5   insufficient to create a genuine dispute as to whether the refusal
 6   was racially motivated).
 7          In the face of the City’s legitimate justification, Plaintiff
 8   has not demonstrated pretext or otherwise created a triable issue
 9   that he was denied the Project Manager position because of his
10   race.      Summary judgment in favor of the City on this claim is
11   GRANTED.7
12                c.    Safety Boots And Transfer
13          Among other things, the City argues that: (1) Montgomery’s act
14   of    denying     Plaintiff   safety    boots   (which   was   trumped     by
15   Montgomery’s superior) was not an adverse employment action and was
16   justified in any event; and (2) the transfer of Plaintiff within
17   the Water Division to Gaddy’s supervision was not an adverse
18
            7
19          In its moving papers, the City also argued that Plaintiff is
     attempting to assert an intentional discrimination and retaliation
20   claim based on the premise that he was not selected for a separate
21   “Supervising Engineering Technician” position because of his race
     (a claim distinct from his reclassification denial claim, which
22   deals with the “Senior Engineering Technician” classification). In
     opposition, Plaintiff does not mention this claim. In any event, it
23   is undisputed that Plaintiff did not apply for this particular
24   Supervising Engineering Technician position. (Doc. 38-6 at 10.)
     Because Plaintiff never applied for the position and no adverse
25   employment decision was made, no disparate treatment or retaliation
     claim exists.    To the extent Plaintiff asserts that he did not
26   receive this Supervising Engineering Technician position (which he
27   never applied for) because of his race or due to retaliation,
     summary judgment on this claim is GRANTED.
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 1   employment     action    and    was     justified       in   any    event.           In   his
 2   opposition brief, Plaintiff does not contend that these events –
 3   the   denial    of    safety    boots    and   his      transfer      –    are       adverse
 4   employment     actions    that    give     rise    to    a    claim    for     disparate
 5   treatment. Instead, Plaintiff classifies these events under the
 6   heading “Defendant’s Additional Harassing Conduct” and argues that
 7   they bolster his racial harassment claim.                          Nevertheless, the
 8   propriety      of    granting    summary    judgment         on    these   potentially
 9   lingering disparate treatment claims must be analyzed.
10         For purposes of a Title VII disparate treatment claim, an
11   “adverse employment action is one that materially affect[s] the
12   compensation,        terms,     conditions,       or    privileges         .     .    .    of
13   employment.” Davis v. Team Elec. Co., 520 F.3d 1080, 1089 (9th Cir.
14   2008).    While Montgomery approved of the slip-on, steel-toe boots
15   for Plaintiff, Montgomery denied Plaintiff’s request for safety
16   boots. Thereafter, however, Plaintiff secured approval for the
17   safety boots from Montgomery’s superior. (Doc. 39-3 at 7.) It is
18   difficult to see how Montgomery’s transitory denial of safety boots
19   “materially” affected any of the terms, conditions, or privileges
20   of Plaintiff’s employment.
21         Even assuming, however, that Montgomery’s temporary denial of
22   safety boots amounts to an adverse employment action and that
23   Montgomery’s one-time authorization of safety boots, at some point,
24   for “Buster” (an Hispanic or Latino temp who worked in the field)8
25
26         8
            According to Plaintiff, Buster was not performing similar
27   work (well abandonments); rather, Buster was doing “field
     verification work.” (Pl. Dep. 125:11.) Buster initially used his
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 1   is    sufficient    to   create    a     prima     facie   case     of   racial
 2   discrimination, the City has advanced a legitimate justification
 3   for Montgomery’s action.
 4          Plaintiff admits that Montgomery requested that Plaintiff try
 5   the slip-on, steel-toe boots instead of the work boots Plaintiff
 6   requested. (Doc. 38-6 at 11; Doc. 38-5 at 3.)              Montgomery, along
 7   with other supervisors, went through training from the Chief of
 8   Operations in which supervisors were advised of the utility of
 9   slip-on, steel-toe boots for those individuals who worked out in
10   the field on an intermittent basis. (Montgomery Decl. ¶ 12.)                In
11   2005 (which is when the boot denial occurred), Montgomery and the
12   employees in his section who worked in the field on an intermittent
13   basis were not provided steel-toe work boots. (Id.) In 2005,
14   Plaintiff’s job duties were altered such that the he would be
15   spending more time in the field on a periodic basis to perform well
16   abandonments.       After Plaintiff’s duties were altered, and in
17   response    to   Plaintiff’s   request      for   safety   boots,   Montgomery
18   requested that Plaintiff go to the warehouse and try the slip-on,
19   steel-toe boots.      As Plaintiff testified:
20          Q. What did you say in response?
21          A. I told him that in my professional opinion, these are
            not acceptable out in the field. And he told me In your
22          professional opinion, you haven’t even tried them.
23   (Pl. Dep. 132:21-25.) Afterwards, Plaintiff went and tried on the
24
25
     own safety boots (that he himself provided), but they eventually
26   wore out. (Pl. Dep. 123:16:17.) Apparently after his own safety
27   boots wore out, Buster was provided, or received authorization for,
     another pair of safety boots.
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 1   slip-on, steel-toe boots, he eventually found a pair that fit, he
 2   used them in the field once and slipped, and “took them off and
 3   that was it.” (Pl. Dep. 132:2-3.) Then, Plaintiff, unknown to
 4   Montgomery, obtained approval for safety boots from Montgomery’s
 5   superior, Lon Martin, and this came to light in the parking lot
 6   discussion between Plaintiff, Montgomery, and Martin.
 7          During the parking lot discussion, Plaintiff testified that he
 8   tried to explain “what was going on with the safety boot issue.
 9   And basically, I asked him [Montgomery] Why can’t you just give me
10   safety boots? . . . And he said, Well, you haven’t even tried the
11   slip-ons. And at that time, Mr. Martin, Lon Martin was pulling up
12   in his vehicle. And I said, Why can’t you give me safety boots?
13   This guy here has already given me safety boots.” (Pl. Dep. 135:23-
14   136:1;    136:4-9.)   After   the   parking   lot   discussion,    Plaintiff
15   obtained the boots he requested. (Pl. Dep. 133:23.)
16          The fact that steel-toe work boots were not provided to
17   Montgomery and the employees in his section who worked in the field
18   on an intermittent basis, that Montgomery was specifically trained
19   on the utility of slip-on, steel-toe boots in these types of
20   situations, and that he believed Plaintiff had not given the slip-
21   ons an adequate try, provides a legitimate, nondiscriminatory
22   justification for Montgomery’s refusal to authorize the work boots.
23   In   response,    Plaintiff   has   not   demonstrated   that     the   City’s
24   legitimate justification is pretextual.        The fact that third-party
25   contractors actually required Plaintiff to wear safety boots while
26   on-site does not demonstrate pretext.          There is no evidence that
27   Montgomery was aware of this fact and refused to authorize the
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 1   safety boots notwithstanding.     Even if the slip-on boots were not
 2   the best possible shoe for the occasion, and even if it was unwise
 3   for Montgomery to deny the work boot authorization and insist that
 4   Plaintiff give the slip-on boots an adequate try, this does not
 5   demonstrate pretext as Montgomery had been encouraged to have
 6   employees try the slip-on, steel-toe boots.
 7        In the face of the City's legitimate justification, Plaintiff
 8   has not demonstrated pretext or otherwise created a triable issue
 9   that he was temporarily denied safety boots because of his race.
10   Summary judgment on this disparate treatment claim is GRANTED.
11        With respect to the transfer from Montgomery’s supervision to
12   Gaddy’s supervision in the Telemetry section, Plaintiff argues that
13   Montgomery wanted him transferred when “Montgomery discovered that
14   Plaintiff had acquired the authorization for the boots.” (Doc. 38-5
15   at 17.)    However, Montgomery’s displeasure with how Plaintiff
16   handled the boot situation provides a legitimate, nondiscriminatory
17   justification for Montgomery’s transfer request.
18        Plaintiff   himself    recognized   that,   by   getting   approval
19   elsewhere, “I felt that he’s [Montgomery’s] really going to think
20   that I went behind his back.” (Pl. Dep. 128:16-17.) In the parking
21   lot discussion, after Plaintiff informed Montgomery that Martin
22   approved of the safety boots, Plaintiff “waived Lon [Martin] over
23   so that hopefully it would quash the incident and it made it worse.
24   Because now, Neil [Montgomery] thinks I went behind his back
25   totally and everything comes out. And Neil says, I want him out of
26   here.” (Pl. Dep. 136:22-137:2.)
27        It is undisputed that, during the parking lot discussion, when
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 1   Montgomery’s failure to issue the safety boot authorization came
 2   up,    he    became      visibly       angry.        (Doc.       39-3    at     7.)   In    his
 3   declaration, Montgomery acknowledges that, during the discussion,
 4   when he learned that “Plaintiff had already received approval for
 5   the steel-toe boots” Montgomery “became increasingly frustrated”
 6   and “indicated to Mr. Martin that he needed to move Plaintiff” out
 7   of his section. (Montgomery Decl. ¶ 7.)
 8          Both Plaintiff’s briefing and his testimony, consistent with
 9   Montgomery’s         declaration,            indicate          that     what     precipitated
10   Montgomery’s parking lot communication to Martin, that he wanted
11   Plaintiff      out    of    his       section,    was     the     revelation      that   after
12   requesting the safety boots from Montgomery, Plaintiff had obtained
13   approval      elsewhere         for    the   safety       boots       without    Montgomery’s
14   knowledge. Montgomery's displeasure with how Plaintiff handled the
15   boot       situation,      by   going     above      or   around        Montgomery    without
16   Montgomery’s knowledge and bringing this to his attention in the
17   parking lot discussion, provides a legitimate nondiscriminatory
18   reason       for   his     request      to   Martin       to    move     Plaintiff    out    of
19   Montgomery’s section. See Slatkin v. Univ. of Redlands, 88 Cal.
20   App. 4th 1147, 1157 (2001) (recognizing that even a “personal
21   grudge can constitute a legitimate, nondiscriminatory reason for an
22   adverse employment decision”) (internal quotation marks omitted).
23          Martin, who later made the decision to move Plaintiff to
24   Gaddy’s supervision, believed he was confronted with a situation
25   where Plaintiff “was having ongoing disputes with his supervisor.”9
26
            9
27           In Plaintiff’s opposition briefing, Plaintiff also
     represents that he had several “problems” with Montgomery (Doc. 38-
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 1   Martin, however, wanted Plaintiff to continue performing well
 2   abandonments. He decided “it would be best to move Plaintiff under
 3   Mr. Gaddy’s supervision” as he believed “Mr. Gaddy’s personality
 4   would be a better fit as a supervisor.” (Martin ¶¶ 5, 7.)                This is
 5   a legitimate, nondiscriminatory reason for the transfer.                  It is
 6   undisputed that since being transferred to Gaddy’s supervision,
 7   Plaintiff has had no problems with Gaddy’s supervision and has not
 8   been the subject of any negative reviews or disciplinary conduct.
 9   (Doc. 38-6 at 24.)
10          In the face of a legitimate, nondiscriminatory reason for
11   Montgomery’s     request   to    Martin    to   move   Plaintiff   out   of   his
12   section, and Martin’s legitimate, nondiscriminatory reason for
13   doing so, Plaintiff has not demonstrated pretext or otherwise
14   created a triable issue that his transfer was motivated by his
15   race. (Again, Plaintiff does not even dedicate any briefing to this
16   claim or these issues.)         Even assuming that Plaintiff has somehow
17   created a prima facie case of discrimination with respect to the
18   transfer, in light of the legitimate justifications identified,
19   Plaintiff has not created a triable issue. To the extent Plaintiff
20   asserts that he was transferred because of his race, summary
21   judgment on this disparate treatment claim is GRANTED.
22   C.     Retaliation
23          Plaintiff’s complaint asserts a retaliation claim under Title
24   VII. “The elements of a prima facie retaliation claim are, (1) the
25   employee engaged in a protected activity, (2) []he suffered an
26
27
     5 at 17.)
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                                           41
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 1   adverse employment action, and (3) there was a causal link between
 2   the protected activity and the adverse employment action.” Davis,
 3   520 F.3d at 1093-94. In opposition to the City’s motion for summary
 4   judgment on this claim, Plaintiff makes no attempt to explain the
 5   nature of his retaliation claim or justify its maintenance –
 6   Plaintiff does not even mention this claim.
 7        The City identifies four events it believes represents the
 8   protected activity in which Plaintiff claims he engaged (and
 9   Plaintiff does not challenge the City’s characterization of his
10   retaliation claim).    These events include: (1) a complaint in 2000
11   about Peyton’s alleged use of the term “slave”; (2) a complaint in
12   2002 about Little’s use of the term “niggardly”; (3) an internal
13   complaint with Patrick Wiemiller/Kay Hartman on or about January
14   16, 2006, after the transfer to Gaddy’s supervision; (3) the DFEH
15   complaint filed on or about August 21, 2006. (Doc. 26 at 18-19.)
16        With respect to these forms of protected activity,10 the City
17   argues that any adverse employment decision allegedly connected to
18   this activity that falls outside the statute of limitations period
19   cannot support a retaliation claim, i.e., such claims are time-
20   barred.   With respect to any remaining non-time-barred retaliation
21   claims, the City argues that Plaintiff cannot satisfy the requisite
22   elements.     From   the   briefing,    it   is   unclear   which    adverse
23   employment   actions   Plaintiff   claims     are   associated      with   the
24
25
          10
            In framing its arguments, the City does not contend these
26   four events do not constitute protected activity. Accordingly, for
27   purposes of this order, it is assumed, arguendo, that these four
     events represent protected activity.
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 1   protected activities enumerated above (again, Plaintiff has not
 2   submitted any briefing on his retaliation claim in his opposition
 3   to    the   City’s    motion).        In   any    event,     to     the   same    extent
 4   Plaintiff’s disparate treatment claims are barred by the statute of
 5   limitations, Plaintiff’s retaliation claims, based on the same
 6   adverse employment actions, are equally barred.                      With respect to
 7   any    remaining      retaliation     claims          (discussed    below),      summary
 8   judgment on these claims is warranted.
 9          1.    Complaint about “slave” comment
10          In February 2000, after Peyton’s “back to work slave” comment
11   uttered in Plaintiff’s presence, Plaintiff complained about the
12   comment to Montgomery. Plaintiff testified that he was given the
13   opportunity to provide a statement regarding the incident. (Pl.
14   Dep. 173:21-22.)          According to Montgomery (and e-mails attached to
15   his declaration), an investigation was conducted and ultimately
16   Peyton was advised that he should be sensitive about comments made
17   in the presence of coworkers.                   The alleged adverse employment
18   actions that took place after this complaint include Plaintiff’s
19   denial of reclassification to Senior Engineering Technician, the
20   non-selection        of   Plaintiff   for       the    Project     Manager    position,
21   Montgomery’s denial of work boots and the transfer of Plaintiff to
22   Gaddy’s supervision.
23          The initial denial of reclassification occurred in June 2003,
24   and it was affirmed December 8, 2003, and on May 4, 2004.                      The non-
25   selection of Plaintiff for the Project Manger position occurred in
26   2006.    Montgomery’s work boot denial and the transfer of Plaintiff
27   to Gaddy’s supervision occurred in 2005.                      The over three-year
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 1   temporal gap between the alleged protected activity (the complaint
 2   about the “slave” comment in February 2000) and the alleged adverse
 3   employment     decisions      is    too     wide   to    support    an   inference    of
 4   causation.     Moreover, there are legitimate justifications for each
 5   of    these    actions    (discussed         above),      and     Plaintiff   has    not
 6   demonstrated pretext or otherwise created a triable issue as to
 7   whether these decisions were taken in retaliation for the protected
 8   activity.     Furthermore, the employer counseled Peyton about racial
 9   insensitivity.
10          To the extent Plaintiff asserts a claim for retaliation based
11   on alleged adverse employment actions taken in retaliation for the
12   “slave” comment complaint, summary judgment on this claim is
13   GRANTED.
14          2.     Complaint about “niggardly” comment
15          Before he left the City’s employ in 2002, Little had the
16   “niggardly” conversation with Plaintiff, and Plaintiff complained
17   to, or talked about it with, Martin, Nora Laikam and/or Montgomery.
18   (Pl. Dep. 50:11-12; 194:7-8.) Plaintiff estimates the conversation
19   with Little occurred in the 2001 to late 2002 time-frame. (Doc. 38-
20   5 at 14; Pl. Dep. 192:5-8.) The alleged adverse employment actions
21   that took place after this complaint include Plaintiff's denial of
22   reclassification         to        Senior        Engineering       Technician,       the
23   non-selection     of     Plaintiff        for    the    Project    Manager    position,
24   Montgomery's denial of work boots and the transfer of Plaintiff to
25   Gaddy's supervision.
26          The temporal gap, consisting of multiple years, between the
27   “niggardly” conversation with Little and Plaintiff’s complaint and
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 1   the non-selection of Plaintiff for the Project Manager position
 2   (2006) is too wide to support an inference of causation between the
 3   two.    The same can be said with respect to the denial of safety
 4   boots and transfer to Gaddy’s supervision (2005).                    Moreover, the
 5   City has advanced legitimate justifications for these decisions,
 6   and Plaintiff has not demonstrated pretext or otherwise created a
 7   triable     issue    as    to    whether    these      decisions    were     taken    in
 8   retaliation for the protected activity.
 9          With respect to the initial denial of reclassification in June
10   2003 this happened a little closer in time than the other adverse
11   employment actions.             However, Plaintiff testified that he was
12   unaware of any personalized racial animus on the part of Chavez,
13   and Plaintiff has not pointed to any evidence which would suggest
14   that Chavez was even aware of his complaint over the Little
15   “niggardly” conversation.            The City has advanced a legitimate
16   justification for its decision to deny Plaintiff’s reclassification
17   in   any    event,   and   Plaintiff       has   not    demonstrated       pretext    or
18   otherwise     created      a    triable    issue       that   the   denial    of     his
19   reclassification occurred due to retaliation.
20          To the extent Plaintiff is asserting a claim for retaliation
21   based on alleged adverse employment actions taken in retaliation
22   for the "niggardly" comment complaint, summary judgment on this
23   claim is GRANTED.
24          3.    Internal complaint with Patrick Wiemiller/Kay Hartman
25          According to Plaintiff’s DFEH Complaint, in or about January
26   2006, after he was transferred to Gaddy’s supervision, he filed a
27   complaint with Kay Hartman, Human Resources Specialist, about race
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 1   discrimination.11             The only viable adverse employment decision
 2   occurring after this complaint in January 2006 is the non-selection
 3   of Plaintiff for the Project Manager position, which occurred
 4   sometime after the City posted the opening for the Project Manager
 5   position in February 2006.               While the timing is somewhat close,
 6   Plaintiff has not proffered any evidence indicating that, at the
 7   time they were rating Plaintiff, the three panel members, including
 8   Fey,        had    any    knowledge   of      Plaintiff’s     complaint    of   race
 9   discrimination           to   Hartman.        Fey’s    “Schwarzenigger”    comment,
10   although unpleasant, does not raise suspicions of retaliatory
11   motives.          Plaintiff testified at his deposition that he did not
12   know whether Fey had any retaliatory animus, and that he and Fey
13   got along and were cordial. (Pl. Dep. 84:18-25.)
14          Even assuming Plaintiff has advanced sufficient evidence to
15   create a prima facie case of retaliation, the City has advanced a
16   legitimate, nonretaliatory reason for the decision not to select
17   Plaintiff for the Project Manager position.                       Out of a pool of
18   applicants, Plaintiff ranked 14th and only the top seven were
19   eligible          for    selection.      In    the    face   of   this   legitimate,
20   nonretaliatory reason Plaintiff has not demonstrated pretext or
21
22
            11
            The City attaches Plaintiff’s DFEH complaint as an exhibit
23   to a motion for judicial notice. (Doc. 35.) The City filed its
24   motion for judicial notice in conjunction with its motion for
     summary judgment or, in the alternative, partial summary
25   judgment/summary adjudication. The City requests judicial notice
     of the DFEH complaint, prior pleadings in this case, and sections
26   of the Fresno Municipal Code. The existence of these items is a
27   matter of public record and can be judicially noticed. The City’s
     motion for judicial notice is GRANTED.
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 1   otherwise created a triable issue that he was not selected for the
 2   Project     Manager     position    due   to   retaliation      for        the    Hartman
 3   complaint.
 4          To the extent Plaintiff is asserting a claim for retaliation
 5   based on alleged adverse employment action taken in retaliation for
 6   his   complaint    to    Hartman,    summary    judgment       on    this        claim   is
 7   GRANTED.
 8          4.    DFEH complaint on or about August 21, 2006
 9          Plaintiff filed a complaint with the DFEH on or about August
10   21, 2006. The DFEH complaint was filed after any of the alleged
11   adverse employment actions took place. Accordingly, this protected
12   activity could not have caused earlier adverse employment actions.
13   To the extent Plaintiff is asserting a claim for retaliation based
14   on alleged adverse employment actions taken in retaliation for his
15   DFEH complaint, summary judgment on this claim is GRANTED.
16   D.     § 1981
17          As indicated in his opposition brief, Plaintiff is pursuing a
18   § 1981 claim on the theory that he was subject to discrimination
19   and harassment based on his race.
20          “Title VII prohibits employers from discriminating against an
21   individual      based     on   race.       Similarly,      §        1981     prohibits
22   discrimination in the benefits, privileges, terms and conditions of
23   employment.” Surrell v. Cal. Water Serv. Co., 518 F.3d 1097, 1103
24   (9th Cir. 2008) (internal citation and quotation marks omitted).
25   Section 1981(a) provides:
26          All persons within the jurisdiction of the United States
            shall have the same right in every State and Territory to
27          make and enforce contracts, to sue, be parties, give
28
                                               47
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 1        evidence, and to the full and equal benefit of all laws
          and proceedings for the security of persons and property
 2        as is enjoyed by white citizens, and shall be subject to
          like punishment, pains, penalties, taxes, licenses, and
 3        exactions of every kind, and to no other.
 4   Section 1981(b) provides
 5        For purposes of this section, the term ‘make and enforce
          contracts’    includes    the    making,    performance,
 6        modification, and termination of contracts, and the
          enjoyment of all benefits, privileges, terms, and
 7        conditions of the contractual relationship.
 8
     In the Ninth Circuit, a plaintiff can base a § 1981 claim on racial
 9
     discrimination or racial harassment cognizable under Title VII. See
10
     Surrell, 518 F.3d at 1103 (“When analyzing § 1981 claims, we apply
11
     the same legal principles as those applicable in a Title VII
12
     disparate treatment case”) (internal quotation marks omitted);
13
     Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116, 1122 & n.3
14
     (9th Cir. 2008) (stating that, “[i]n this circuit,” hostile work
15
     environment racial harassment claims “are cognizable under § 1981"
16
     and that “[h]ostile work environment claims under Title VII contain
17
     the same elements of a § 1981 hostile work environment claim and,
18
     thus, the legal principles guiding a court in a Title VII dispute
19
     apply with equal force in a § 1981 action.”) (internal quotation
20
     marks omitted).
21
          The   City   contends   that   seven   other   Circuit   courts   have
22
     concluded that § 1981 does not provide an independent cause of
23
     action.    The City argues that this court should reconsider the
24
     Ninth   Circuit’s   decision   in    Federation     of   African   American
25
     Contractors v. City of Oakland, 96 F.3d 1204, 1214 (9th Cir. 1996),
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     which, unlike other courts, held that § 1981 does provide an
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 1   independent cause of action against municipalities. A panel of the
 2   Ninth Circuit recently reviewed the Federation decision and the
 3   panel did not “believe that Federation can or must be overruled.”
 4   Pittman v. Oregon, Employment Dep’t, 509 F.3d 1065, 1073 (9th Cir.
 5   2007).12    A district court in California must follow Ninth Circuit
 6   precedent, which has not been overruled.
 7        The City also argues that, just like with § 1983 Monell
 8   claims, to establish his § 1981 claim, Plaintiff must show that a
 9   policy      or   custom      of      the     City   caused       the    alleged
10   discrimination/harassment.            This     argument    has    merit.     See
11   Federation, 96 F.3d at 1214-15 (concluding that a claim under §
12   1981 against a municipality requires the same Monell evidence as a
13   § 1983 claim). In Pittman the Ninth Circuit stated:
14        Notably, the argument that § 1981 contains a cause of
          action against municipalities was raised in Federation in
15        an attempt to free plaintiffs from the obligation to
          demonstrate a ‘policy or custom’ as required under Monell
16        to impose liability on local government units under §
          1983. Federation ultimately held on the latter question
17        that the ‘policy or custom’ requirement pertains to
          municipalities sued under § 1981.
18
19   509 F.3d at 1070 (internal citation omitted). Under Monell and its
20   progeny, “[l]iability may attach to a municipality only where the
21   municipality itself causes the [civil rights] violation through
22   execution of a government's policy or custom, whether made by its
23   lawmakers or by those whose edicts or acts may fairly be said to
24   represent    official     policy.”    Ulrich   v.   City   &   County   of   San
25
26        12
             Pittman did, however, decline to extend the holding in
27   Federation (i.e., that § 1981 provides a cause of action against
     municipalities) to arms of the state. 509 F.3d at 1070.
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 1   Francisco, 308 F.3d 968, 984 (9th Cir. 2002) (internal quotation
 2   marks omitted).
 3         The City argues that Plaintiff lacks Monell evidence and,
 4   therefore, Plaintiff’s § 1981 claim fails.               The City argues that
 5   Plaintiff cannot point to any policy or custom of the City which
 6   caused the alleged racial discrimination/harassment in this case.
 7   The City notes, and it is undisputed, that the City has a policy
 8   against harassment and the City holds periodic training on this
 9   policy. (Doc. 38-6 at 13.)          The evidence also shows that the City
10   has   a    policy   against   discrimination       (it   appears   in   the   same
11   document as the anti-harassment policy). (Chavez Decl. Ex. L.)
12         In opposition to the City’s motion, Plaintiff does not argue
13   or submit evidence showing that the City has the requisite policy
14   or custom to be held liable under § 1981.            In fact, Plaintiff does
15   not address the issue at all in his briefing.                  Plaintiff also
16   failed to plead any such policy or custom in the complaint.
17   Plaintiff’s failure to adduce Monell evidence is fatal. Cf. Lakteen
18   v. Clark County, 255 F. App’x 273, 274-75 (9th Cir. 2007) (“The
19   district court properly granted summary judgment to the County on
20   Lakteen's section 1983 claim, because she did not present evidence
21   sufficient to show either that the alleged sexual harassment was
22   the result of the County's official policy or custom, or that a
23   final     policymaker   of    the   County   was   involved   in   the   alleged
24   misconduct.”).
25             Plaintiff has failed to create a genuine issue of fact as to
26   whether the alleged racial discrimination/harassment was caused by
27   a policy or custom of the City within the meaning of Monell and its
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 1   progeny. Summary judgment on Plaintiff’s § 1981 claim is GRANTED.13
 2   E.     FEHA
 3          1.     Race Discrimination
 4          The same analyses and conclusions as set forth above with
 5   respect to Plaintiff’s Title VII racial discrimination claim apply
 6   to his race discrimination claim under the FEHA, with some minor
 7   variations.
 8          Under the FEHA, a DFEH complaint must be filed within one year
 9   after the violation occurred. Romano v. Rockwell Int’l, Inc., 14
10   Cal. 4th 479, 492 (1992).         Given the date Plaintiff filed his DFEH
11   complaint (August 21, 2006), any adverse employment action that
12   took place before August 21, 2005, cannot support an independent
13   FEHA race discrimination claim.             Accordingly, Plaintiff cannot
14   maintain      a   FEHA   race   discrimination   claim   on   the   basis   that
15   Montgomery’s sick leave admonishment, which occurred at some point
16   prior to January         2, 2005, and Montgomery’s refusal, in April/May
17   2005, to allow Plaintiff to change a training class, constitute
18   independent actionable adverse employment actions under the FEHA.
19   The City’s motion for summary adjudication that those claims are
20   barred by the statute of limitations is GRANTED.
21          As for the reclassification denial, the decision not to select
22
23          13
            Because summary judgment is warranted on Plaintiff’s race
24   discrimination claim under Title VII, racial discrimination cannot
     form the substance of Plaintiff’s § 1981 claim. In other words, to
25   the extent Plaintiff’s § 1981 claim is based on racial
     discrimination (which was the only basis referenced in the
26   pleadings), that Plaintiff’s Title VII racial discrimination claim
27   fails to survive summary judgment provides an independent basis on
     which to grant summary judgment on Plaintiff’s § 1981 claim.
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 1   Plaintiff for the Project Manager position, Montgomery’s denial of
 2   safety boots and the transfer of Plaintiff to Gaddy’s supervision,
 3   for the same reasons discussed above, Plaintiff has failed to
 4   create    a   triable   issue    that    those    decisions   were     unlawfully
 5   motivated by his race.      The City’s motion for summary judgment on
 6   those claims is GRANTED.
 7        2.       Racial Harassment
 8        The FEHA prohibits harassment on the basis of race. Dee v.
 9   Vintage Petroleum, Inc., 106 Cal. App. 4th 30, 35 (2003). In
10   analyzing such claims,          “[c]alifornia courts have been guided in
11   their interpretations of FEHA by the federal court decisions
12   interpreting Title VII.” Id. (internal quotation marks omitted).
13        To prevail on a hostile workplace claim premised on race, “a
14   plaintiff must show: (1) that he was subjected to verbal or
15   physical conduct of a racial . . . nature; (2) that the conduct was
16   unwelcome; and (3) that the conduct was sufficiently severe or
17   pervasive to alter the conditions of the plaintiff's employment and
18   create an abusive work environment.” Vasquez, 349 F.3d at 642
19   (Title VII case) (footnote omitted); see also Dee, 106 Cal. App.
20   4th at 35.
21        To   determine     whether    conduct       was   sufficiently    severe   or
22   pervasive, a court examines “all the circumstances, including the
23   frequency of the discriminatory conduct; its severity; whether it
24   is physically threatening or humiliating, or a mere offensive
25   utterance;      and   whether     it    unreasonably      interferes    with    an
26   employee's work performance.” Vasquez, 349 F.3d at 642.
27        In order to satisfy the third element of this test, [the
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 1        plaintiff] must show that h[is] work environment was both
          subjectively and objectively hostile. In making the
 2        objective determination, we look to all of the
          circumstances, including the frequency, severity, and
 3        nature (i.e., physically threatening or humiliating as
          opposed to merely verbally offensive) of the conduct. The
 4        required severity of the conduct varies inversely with
          its pervasiveness and frequency. Finally, the objective
 5        hostility of the environment must be considered from the
          perspective of a reasonable person belonging to the
 6        racial or ethnic group of the plaintiff.
 7   Galdamez v. Potter, 415 F.3d 1015, 1023 (9th Cir. 2005) (internal
 8   citations and quotation marks omitted).                 “Harassment includes
 9   epithets, derogatory comments or slurs . . . .” Dee, 106 Cal. App.
10   4th at 35 (internal quotation marks omitted).
11        The City makes three arguments as to Plaintiff’s hostile work
12   environment claim: (1) it cannot be based on conduct that took
13   place before August 21, 2005, as such conduct is time-barred as
14   outside the statute of limitations; (2) the conduct within the
15   statute   of   limitations   period    is    not     sufficiently       severe   or
16   pervasive to create a viable racial harassment claim; (3) even when
17   considering    all   the   alleged    conduct       (whether       time-barred   or
18   timely), it does not give rise to a viable hostile work environment
19   claim because it is not sufficiently severe or pervasive.
20        In   opposition,      Plaintiff       argues    that      a    hostile   work
21   environment existed and continued into the limitations period and,
22   by virtue of the continuing violation doctrine, Plaintiff can use
23   conduct outside the limitations period to support his racial
24   harassment claim.       Second, Plaintiff argues that when all the
25   conduct is considered, a triable issue remains as to whether the
26   conduct was sufficiently severe or pervasive.
27        If the alleged conduct at issue, including conduct occurring
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 1   within and outside the limitations period, creates a triable issue
 2   as to whether it was sufficiently severe or pervasive so as to
 3   alter the conditions of employment and create an abusive work
 4   environment,      it    must    be   separately   determined    whether   the
 5   continuing violation doctrine can be invoked.
 6              a.     Severe Or Pervasive
 7        There is no evidence or argument in this case that Plaintiff
 8   was subject to physical acts of violence. Plaintiff’s hostile work
 9   environment claim is based on verbal comments and non-violent
10   actions taken by employees of the City.            While the parties were
11   able to ascribe a date or time-frame to some comments, the date or
12   time-frame as to others are not provided and do not appear in the
13   record.
14        The earliest identified comment is the “white power” comment
15   uttered by Peyton in the mid 1990's. It is undisputed that Peyton
16   reviewed   some    of   Plaintiff’s     work.     According    to   Montgomery
17   (Plaintiff’s supervisor), Peyton was a professional engineer who
18   “indirectly” had supervisory authority over Plaintiff. (Montgomery
19   Dep. 45:14.) The “white power” comment arose during a conversation
20   between McIntyre and Peyton about a fight that broke out at the
21   school where McIntyre’s wife worked. Apparently, she attempted to
22   break up the fight.            As McIntyre relayed the story, Plaintiff
23   overheard Peyton say to McIntyre, “Hey man, I got your back; white
24   power, brother.” Plaintiff was turned away from Peyton when Peyton
25   uttered this comment. (Pl. Dep. 166:22.)
26        Sometime in the 90's or 2000 (Pl. Dep. 198:25), Plaintiff
27   walked up to a conversation between Peyton and Montgomery in which
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 1   they were discussing movies.      Peyton said “something about Arnold
 2   ‘Schwarzenigger’” and Plaintiff said “What did you say.” (Pl. Dep.
 3   62:20-21.) Peyton “got quiet and that was it.” (Pl. Dep. 62:21-22.)
 4        Sometime in 2000, Peyton uttered “okay, back to work slave.”14
 5   Plaintiff was having a conversation with two coworkers, Donna
 6   (African-American) and Rick (Caucasian). (Pl. Dep. 169:15; 169:20).
 7   They were discussing some information that Donna had requested from
 8   Rick,     a   temporary   engineering    technician.   Just   after   the
 9   conversation concluded, Peyton looked at Plaintiff and said “Okay,
10   back to work slave.” (Pl. Dep. 171:9.)           The City disputes that
11   Peyton was referring to or looking at Plaintiff when Peyton made
12   this comment; the City contends the comment was stated to Rick.
13   However, on summary judgment, the evidence of the non-movant is to
14   be believed. Plaintiff testified at his deposition that he believed
15   Peyton was referring to him when he made the “okay, back to work
16   slave” comment because “he [Peyton] was looking at me.” (Pl. Dep.
17   171:9.) This version of the event must be believed for purposes of
18   summary judgment.
19        Plaintiff reported Peyton’s comment to Plaintiff’s supervisor,
20   Montgomery, in an e-mail dated February 2, 2000. (Pl. Dep. Ex. 18.)
21   In that e-mail to Montgomery, Plaintiff explained that, after the
22   conversation with his coworkers concluded, Rick and Donna were
23   walking away. Denis then “blurted out This ok back to work slave.
24
25
          14
             Plaintiff’s briefing states that this comment occurred
26   [s]ometime in the year 2000.” (Doc. 38-5 at 5.) In his deposition,
27   Plaintiff acknowledged that he drafted a synopsis of this incident
     on February 2, 2000. (Pl. Dep. 168:18-24, Ex. 18.)
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 1   I    asked          him     what    did    he    mean.      He   stated     that       Rick    was    the
 2   slave/indentured slave becasue (sic) he is paid. This is out of
 3   line. What type of action we (sic) be taken.” (Id.)                                         Later that
 4   day, Montgomery wrote back to Plaintiff: “What do you think is
 5   appropriate action? I don’t think Rick was offended, since I later
 6   heard him joke about being our slave.” (Id.)                               Plaintiff wrote back
 7   that he wanted clarification on what was meant by the statement and
 8   why Peyton believed it was appropriate to utter this statement in
 9   the presence of two African-Americans. (Id.)                                Plaintiff concluded
10   the e-mail stating “please investigate.” (Id.)                                         According to
11   Plaintiff, when he informed Montgomery of the comment, Montgomery
12   “told me to find Mr. Peyton, a Caucasian man, and ask him what he
13   meant          by     the       comment.”       (Pl.    Decl.      ¶    24.)     The       matter     was
14   investigated and witness statements were taken. Plaintiff testified
15   that       he        was    given       the     opportunity        to    provide       a    statement.
16   Documentary                evidence       in    the     record      shows      that,        after     the
17   investigation, it was determined by the City that the “slave”
18   comment was made in a joking manner, and Peyton was advised that he
19   should          be    sensitive         about     comments       made     in     the       presence    of
20   coworkers.15               It    does     not    appear      any       further     punishment         was
21   administered.
22             About a year later, on or about January 17, 2001, Peyton was
23   in    a        work       meeting       with    another      supervisor,         Lonzy        Armstrong
24   (African-American) and Lupe Ramos. (Pl. Dep. 175:16-176:7-8; Pl.
25   Dep. Ex. 20; Hartman Decl. ¶ 5.) Plaintiff appeared while the
26
27             15
                    Obviously to Plaintiff, this was not a joke.
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 1   meeting was in progress.                (Pl. Dep. Ex. 20.) Upon concluding the
 2   meeting, as he was leaving, Peyton greeted Armstrong, looked at
 3   Lupe to his right and said nothing, and walked past Plaintiff on
 4   his left. (Id.)       Plaintiff moved out of the way to give Peyton more
 5   room to leave. On Peyton’s way out, and with his back toward Lupe,
 6   Peyton, according to Plaintiff, uttered the words “black man.” (Pl.
 7   Dep. 175:11-15, Ex. 20)              Plaintiff asked Peyton what he said, and
 8   Peyton replied with “nothing.” (Pl. Dep. 176:10, Ex. 20.)
 9         Montgomery indicated to Plaintiff that he (Montgomery) wanted
10   Plaintiff to put the encounter in memo form. (Pl. Dep. 176:19-21.)
11   Plaintiff     sent    an       e-mail    to    Montgomery   and    drafted      a   letter
12   purporting to memorialize the incident. (Pl. Dep. Exs. 20-21)
13   Plaintiff testified that the “black man” utterance was a “mumble”
14   and   “inaudible.”         (Pl.      Dep.      177:24-178:1.)       The     matter     was
15   investigated (Montgomery Decl. ¶ 3), and the City (not Plaintiff)
16   concluded that “it is unknown if the words were spoken or not”
17   (Montgomery Decl. Ex. B).                     For purposes of summary judgment,
18   Plaintiff’s version of the event – that Montgomery did utter those
19   words – must be believed. Peyton left the City’s employ in 2002.
20         At some point in time between the late 1990's and 2002, Robert
21   Little, a Water Supervisor I, had a conversation with Plaintiff in
22   which Little stated “there are niggers and there are blacks.”
23   Plaintiff     acknowledges           that     this   statement     was    not   made    in
24   reference to him, but to an African-American worker named Greg.
25   Plaintiff     indicated         in     his    deposition    that   the     conversation
26   occurred after Little brought it to Plaintiff’s attention that Greg
27   could   not    read        a    tape     measure.       Plaintiff        recounted     the
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 1   conversation as follows:
 2        A. The first incident would be his statement that there
          are niggers and there are blacks. It was in response to
 3        my explaining to him after he brought it to my attention
          that an individual by the name of Greg could not read a
 4        tape measure. And I asked him What do you mean? Why are
          you saying this? He said, Come with me. I said, Hey,
 5        man, if we’re going to go out, I don’t want to hear
          anything. And he said, No, I got to tell you something.
 6        I’ll be straight with you. I said, Okay, I’m telling you
          don’t say nothing because I’ve been in that situation
 7        before where people believe that they can say things or
          do things because they want.
 8
               And then he said, I just want you to know, Robert,
 9        there are two different types of people for each race.
          I said, Man, I don’t need to hear this. He said, Well,
10        there are niggers and then there are blacks. I said,
          Man, don’t use that in my presence again. Don’t ever
11        bring that up in my presence. And he said, Well, I’m
          just telling you how I am.     I said, Well, I’m just
12        telling you how I am.
13        Q.   Who is Greg?
14        A. Greg was an African American, field guy, that worked
          in the field as a laborer, I think, or something like
15        that.
          . . . .
16
          Q. And you indicated that Mr. Little was critical of his
17        not being able to read a tape measure?
18        A.   That’s what he said.
19        Q. And then all of a sudden, he indicates to you – or
          discusses there are two types of people in each race?
20
          A.   Yeah.
21
          Q. And did he discuss another race besides blacks? Did
22        he discuss Asians or Hispanics or anything else?
23        A. He said spics and Spanish, Hispanics. I think he is
          half Puerto Rican, I think. And of course, he went to
24        the Asians.
25        Q.   Asians and?
26        A.   And gooks.
27        Q.   Did     he   describe   any    other   race   during   that
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 1          conversation.
 2          A.     I can’t remember at this time.
 3          Q.     That’s when you basically shut him down.
 4          A.     Yeah. Just done.
 5   (Pl. Dep. 181:23-183:2; 183:6-184:2.)            Over a year later (Pl. Dep.
 6   185:3), Little had the “niggardly” conversation with Plaintiff.
 7          According      to   Plaintiff,   the    backdrop   of   the   discussion
 8   involved “somebody in Washington D.C. [who] was fired for using the
 9   term ‘niggardly.’” (Pl. Dep. 184: 9-10.) Little informed Plaintiff
10   of a person who used the word “‘niggardly’ in a public conference.”
11   (Pl. Dep. 185:22-23.) There were “public employees inside of a
12   meeting,       and   the   person   actually   got   terminated.”    (Pl.   Dep.
13   185:24.)16
14          As Plaintiff recounted the conversation, Little said “I got a
15   joke for you” and Plaintiff stated he did not “want to hear your
16   jokes and you know what I’m talking about.” (Pl. Dep. 186:6-8.)
17   Little indicated “it’s not like that at all” (Pl. Dep. 186:9),
18   Plaintiff agreed to listen, and Little said “[w]hat do you think of
19   a black man getting fired for using the word ‘niggardly’? And I
20   asked him, Didn’t I just tell you not to go there? Didn’t I just
21   tell you not to do that. He said, Well, don’t you think it’s funny?
22   It’s not the same. ‘Niggardly’ and ‘nigger’ is not the same.” (Pl.
23   Dep. 11-18.) In response, Plaintiff said “I already told you not
24   to.”
25          Plaintiff found the word “niggardly” offensive “because it’s
26
             16
27                The City does not raise any First Amendment issues in this
     case.
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 1   so    close   to   ‘nigger.’”   (Pl.    Dep.   188:24-25.)    After   that
 2   conversation, Plaintiff was sitting at his work table and Little
 3   brought over to Plaintiff some “documentation” on the correct use
 4   of the word “niggardly.” (Pl. Dep. 191:2-3.)           Plaintiff thought
 5   Little was trying to get Plaintiff to basically admit “you know,
 6   okay, you’re right.” (Pl. Dep. 191:6.)         The documentation appears
 7   to be some sort of news blog or posting on the word “niggardly.”
 8   (Gavin Decl. Ex. H.) Plaintiff wrote some handwritten notes on this
 9   documentation.
10          At the end of his handwritten notes, Plaintiff wrote “[t]o end
11   our conversation in [his] office I asked him [Little] to find the
12   word or find the meaning of the word.” (Pl. Dep. 193:4-6.) A
13   dictionary was brought out of another employee’s office, and,
14   according to Plaintiff, the word was “spoken more than 15, 20
15   times. Niggard, niggardly. Niggardly niggard. It’s different.” (Pl.
16   Dep.    193:17-20.) Little was saying that, and another employee,
17   Brock Buche, also read the word “niggardly” out loud. (Pl. Dep.
18   193:23-24.) Plaintiff complained to, or talked about the matter
19   with, Martin, Nora Laikam and/or Montgomery. (Pl. Dep. 50:11-12;
20   194:7-8.)
21          On more than one occasion in the 2004 to 2006 time-frame, Dick
22   Short, a water production supervisor, referred to an African-
23   American as a “boy” in Plaintiff’s presence. (Pl. Dep. 55:22-
24   56:17.) Plaintiff does not contend that Short ever referred to him
25   as a “boy.” Plaintiff testified that, on one occasion during this
26   time-frame, Plaintiff was talking with Short and Short said “Tiger
27   Woods, that boy can play.” (Pl. Dep. 56:1-2.) On another occasion,
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 1   Short said “that’s a big boy” when referring to somebody who was an
 2   African-American. (Pl. Dep. 55:23; 199:15.)            At one point in his
 3   deposition, Plaintiff testified that he made a “shrug and a wince”
 4   in response to the “boy comment” (Pl. Dep. 11-12), but he also
 5   testified that he verbalized dissatisfaction with the term to Short
 6   and Short “knew where I was coming from.” (Pl. Dep. 201:3-4.)
 7        At some unspecified point in time, according to Plaintiff,
 8   Short was speaking to another employee, Kenny Jennings.              Short put
 9   his arms around Jennings and said, “If you can’t get your niggers
10   to do this, I’ll get mine.” (Pl. Dep. 325:1-4.)             The context of
11   this statement is unclear.           Neither party was able to provide a
12   date or time-frame for this statement.17
13        On   or   about   March   12,    2004,   Leslie   Smith,   an   executive
14   secretary in the Water Division, wrote the following e-mail to
15   several people.
16        Can anyone over there use a slotted box holder thingie
          (that’s the technical term for you engineers!). I have
17        one from Lon’s office I need to get rid of. Need a
          hanging/pull down map holder thingie too? I have one of
18        those as well. Wow, all this technical talk really tires
          me out! Let me know. Thanks!
19
20   Montgomery wrote back to the group:
21        We will ask Robert to investigate and respond. He
          understands technical terms such as ‘holder thingie.’
22        Thanks . . .
23   (Pl. Dep. Ex. 24; Montgomery Decl. ¶ 14.) Plaintiff wrote back to
24
          17
25           Plaintiff argues in his briefing that this statement
     occurred within the statute of limitations period but there is no
26   evidence to support this argument. The most that can be inferred
27   from the evidence is that the statement occurred sometime during
     Plaintiff’s and Short’s employment.
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 1   Montgomery   that   he     found   Montgomery’s        e-mail     “disrespectful,
 2   insulting, and humiliating.” Plaintiff wrote “I find no humor here
 3   at all.” (Pl. Dep. Ex. 24.)
 4        Lastly,     there    is    Fey’s    “Schwarzenigger”         comment,    which
 5   occurred at some point during Plaintiff’s employment and prior to
 6   Plaintiff’s interview for the Project Manager Position in 2006.
 7   Instead of saying Arnold Schwarzenegger’s name correctly Fey said
 8   “Schwarzenigger.”        Fey made the comment while he was talking to
 9   another individual.       Plaintiff was sitting down in his cubicle at
10   the time. (Pl. Dep. 84:2-17.)
11        Besides verbal comments, Plaintiff argues that “additional
12   harassing conduct” occurred which includes the sick-leave incident
13   (which happened sometime before January 2, 2005), the safety boot
14   denial and the transfer to Gaddy’s supervision (2005).
15        Plaintiff’s position is that the verbal comments to which he
16   was subject and the additional harassing conduct creates a triable
17   issue that he experienced severe or pervasive racial harassment
18   that altered the conditions of his employment and created an
19   abusive working environment that continued into the limitations
20   period.
21        Plaintiff    relies       heavily   on   Dee,     a    race/national    origin
22   harassment case. 106 Cal. App. 4th 30.
23        There, in October 1998, Andy March became the supervisor of
24   Glenda Dee, the plaintiff, and Paul Strickland became Marsh’s
25   supervisor. Id. at 33. Strickland required Dee to discuss “very
26   personal   matters”      with   him     instead   of       bringing   them   to   the
27   attention of the personal department. Id. He degraded and insulted
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                                              62
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 1   her for following his orders, and denied responsibility when other
 2   people criticized his orders. Id.       Strickland also called Dee a
 3   “bitch” and “‘constantly’ used the word ‘asshole’ in her presence.”
 4   Id. Strickland also told Dee that he was friends with the chairman
 5   of the board who would support his termination decisions, and
 6   Strickland warned that “if someone caused trouble for him ... he’d
 7   drag that person down.” Id.
 8         In March 1999, Strickland ordered Dee to take a document from
 9   Marsh’s desk with the instruction “Do not get caught.” Id. Dee
10   attempted to take the document; however, Marsh walked in while she
11   was in his office. Strickland discovered what happened and scolded
12   her, stating “I told you not to get caught.” Id.
13         In April 1999:
14         Strickland told Dee that she should ‘make up stories’ to
           hide information from Marsh. Dee stated, ‘My relationship
15         with Andy is straightforward and honest, and I do not
           know how to lie to Andy.’ Strickland said, ‘Did I tell
16         you to lie?’ Dee replied, ‘Well, you did not tell me to
           lie. You told me to make up stories. Isn't that the same
17         as telling a lie?’ Strickland said, ‘Well, what are you,
           a Filipino?’ Dee said, ‘Yes, a Filipino.’ Strickland
18         said, ‘Well, it is your Filipino understanding versus
           mine.’
19
20   Id.   Dee left work on May 4, 1999, due to Strickland’s conduct, and
21   she was diagnosed with post traumatic stress disorder. Id.           She
22   went on disability leave, but offered to come back to work if the
23   company would limit her contacts with Strickland. Id.       The company
24   refused and terminated Dee on August 20, 1999. Id.
25         In Dee, the court of appeals concluded that Strickland’s
26   ethnic slur – “it is your Filipino understanding versus mine” –
27   “combined with other evidence” of his misconduct established a
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 1   triable issue of fact on the issue of a hostile work environment
 2   based on race/national original. Id. at 35.               To the court, a
 3   reasonable trier of fact could infer that the racial slur “was not
 4   an isolated event because it explained Strickland’s motivation for
 5   creating an abusive working environment for Dee” in which he
 6   “berated her, harassed her, ordered her to lie and blamed her for
 7   tasks he ordered her to perform,” and called her a “bitch” and used
 8   the word “asshole.” Id. at 36-7.
 9        The Dee court focused on acts of harassment, and took a
10   picture of Plaintiff’s work environment, over a relatively compact
11   period of time – October 1998 to May 4, 1999.         Strickland’s engaged
12   in several acts of misconduct in that period and his blatant ethic
13   slur was interspersed with his misconduct, which imbued it with
14   racial overtones.
15        Plaintiff suggests that Dee stands for the proposition that a
16   single racial epithet by a supervisor can alter the conditions of
17   employment.     Dee did not so hold.     In reaching its conclusion that
18   the plaintiff’s evidence was sufficient to create a triable issue,
19   the Dee court specifically considered conduct by Strickland, apart
20   from the ethnic slur, in the totality of the circumstances.             That
21   being   said,   Dee   did   recognize    that   an   ethnic   slur   from   an
22   employee’s superior is an act of harassment that, when coupled with
23   other evidence, can create a triable issue as to whether the
24   employee endured a hostile work environment.
25        Although this case lacks Strickland-like misconduct, Plaintiff
26   has much more than one racial slur.       Plaintiff has amassed an array
27   of racially charged comments far exceeding the single comment in
28
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 1   Dee.   Blatantly racial comments such as “white power,” “there are
 2   blacks    and    then   there      are    niggers,”    “black     man”   and
 3   “Schwarzenigger” were a continuing part of Plaintiff’s workplace.
 4   A reasonable African-American would, like Plaintiff, find them
 5   offensive.
 6          The City takes the position that for Plaintiff to have a
 7   viable racial harassment claim, “a far greater degree of abuse”
 8   both in “terms of frequency and the nature of the offensive
 9   communications” must have occurred.
10          In terms of frequency, “[w]hile a hostile work environment
11   claim may be stronger where it is based upon repeated incidents,
12   the pervasiveness of the conduct that must be shown to prevail on
13   a   hostile   work   environment    claim   varies    inversely   with   the
14   seriousness of the incidents.” Erdmann v. Tranquility Inc., 155 F.
15   Supp. 2d 1152, 1161 (N.D. Cal. 2001).         And “[w]ithin the totality
16   of circumstances, there is neither a threshold ‘magic number’ of
17   harassing incidents that gives rise, without more, to liability as
18   a matter of law nor a number of incidents below which a plaintiff
19   fails as a matter of law to state a claim.” Rodgers v. Western-
20   Southern Life Ins Co., 12 F.3d 668, 674 (7th Cir. 1993); see also
21   Dee, 106 Cal. App. 4th at 35-36.
22          In terms of severity, use of the term “nigger” by Little –
23   both in his comment “there are blacks and then there are niggers”
24   and during his “niggardly” conversation when he said “nigger” is
25   not the same thing as “niggardly” – is exceedingly offensive.            The
26   same goes for Short’s use of the term “nigger” in his statement “if
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 1   you can’t get your niggers to do this, I’ll get mine.”18            “It is
 2   beyond question that the use of the word ‘nigger’ is highly
 3   offensive and demeaning, evoking a history of racial violence,
 4   brutality,    and   subordination.   This   word   is   perhaps   the   most
 5   offensive and inflammatory racial slur in English, . . . a word
 6   expressive of racial hatred and bigotry.” McGinest v. GTE Service
 7   Corp., 360 F.3d 1103, 1116 (9th Cir. 2004). Little was a supervisor
 8   at the time he uttered these racially charged words. (Little Decl.
 9   ¶ 1.)     According to Plaintiff’s unrebutted testimony, Short was a
10   water production supervisor at the time. The supervisory status of
11
          18
             The City raises several objections to Short’s statement,
12
     none of which have merit. The City contends that Plaintiff never
13   asserted “in the operative pleading or discovery that he was
     relying on this alleged statement.” (Doc. 39-1 at 13.) In a notice
14   pleading regime, however, Plaintiff’s complaint need not list each
     and every racial utterance that he believed contributed to a
15
     hostile work environment.    Moreover, the “discovery” which the
16   City’s cites is a written discovery response drafted prior to
     Plaintiff’s deposition. The statement from Short came out during
17   Plaintiff’s deposition, and this is sufficient to put the City on
18   notice that the statement is in contention. The City also notes
     that Plaintiff stated in his separate statement that Short was a
19   “co-worker,” not a supervisor, but then Plaintiff states that Short
     was a supervisor in Plaintiff’s opposition brief. The City,
20   however, shies away from affirmatively declaring that Short was not
21   a supervisor, and Plaintiff’s testimony that Short was a supervisor
     remains unrebutted. In light of this, the “co-worker” reference in
22   the separate statement is an error unreflective of Plaintiff’s
     testimony. Finally, the City contends “even if Plaintiff provided
23   evidence of the alleged statement, it would lack foundation and is
24   likely hearsay.” In his deposition, Plaintiff testified about Short
     and that this statement from Short occurred and, in his
25   declaration, Plaintiff declared that he heard this statement
     spoken.   An adequate foundation exists.     In terms of hearsay,
26   Short’s statement is relevant regardless of its truth (that Short
27   will, in fact, “get” his “niggers” if Jennings could not get his)
     to show, at a minimum, the effect it had on the hearer.
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 1   Little and Short, both non-African-Americans, enhances the severity
 2   of    their   racial       statements.           Rodgers,   12      F.3d   at    675    (“[A]
 3   supervisor's use of [an epithet] impacts the work environment far
 4   more    severely        than    use   by   co-equals.”).            Also   enhancing      the
 5   severity in one instance was Little’s persistence in proving that
 6   he was right about the term “niggardly” when Plaintiff had already
 7   indicated     to    him    that       he   did    not   want   to    engage     in     such   a
 8   conversation.
 9          Equally evocative of racial discrimination is Peyton’s use of
10   the word “slave.”              While looking at Plaintiff, Peyton commanded
11   Plaintiff to get back to work “slave.”                   This statement came from a
12   person, Peyton, who Plaintiff previously heard say to another “I
13   got your back; white power, brother.” Considering Peyton’s other
14   racial comments, the “slave” comment is no joking matter. Peyton’s
15   “white power” comment is also offensive in itself.                              Peyton used
16   these words while referring to a physical altercation, and he was
17   indicating that he would be willing to “go over there” (the school)
18   and use physical violence if necessary. (Pl. Dep. 166:17-25.) A
19   reasonable African-American in Plaintiff’s position would feel
20   intimidated        by    this    racially        charged    utterance.           While    not
21   Plaintiff’s direct supervisor, Peyton reviewed some of Plaintiff’s
22   work and had indirect supervisory authority over him.
23          Coupled with these racially disparaging statements are less
24   odious, but still offensive, racial utterances.                        On more than one
25   occasion Short referred to an African-American man as a “boy.”
26   Plaintiff testified that he heard Short use the term more than
27   twice (Pl. Dep. 56:16-17), even though Plaintiff could provide only
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 1   two concrete examples. Plaintiff testified that he has not heard
 2   Short use the term “boy” toward non-African-Americans. (Pl. Dep.
 3   56:18-20.) Plaintiff also testified that a couple of coworkers also
 4   called him a “boy,” and he corrected them. (Pl. Dep. 200:8-9.) The
 5   intentional     tweaking         of    Arnold     Schwarzenegger’s       name   to
 6   “Schwarzenigger” by Fey and Peyton is blatantly racial. Finally,
 7   Peyton called Plaintiff a “black man” at short range in a low
 8   mumble. Plaintiff testified “little incidents like this are the
 9   ones that made my life a living hell.” (Pl. Dep. 176:17-18.)
10         Given the seriousness of certain statements, the necessary
11   level   of    repetition     is       lessened,     and   Plaintiff’s    numerous
12   identified instances of harassment cross the threshold required to
13   survive summary judgment. Taken together, all the racially charged
14   statements enumerated above create a triable issue as to whether
15   Plaintiff experienced harassment severe or pervasive enough to
16   alter the conditions of his employment and create an abusive
17   working environment.
18         As to whether the hostile work environment continued into the
19   limitations period, Short’s “boy” comments were made between 2004-
20   2006, and Plaintiff declares that he has been subject to racist and
21   offensive comments “throughout” his employment and they “continue
22   to persist.” (Pl. Decl. ¶ 22.)            Short’s “boy” comments, alongside
23   this statement in Plaintiff’s declaration, are sufficient to create
24   a   triable   issue    as   to    whether     the   hostile     work   environment
25   continued     into    the   limitations       period.     See   Draper   v.   Coeur
26   Rochester, Inc., 147 F.3d 1104, 1109 (9th Cir. 1998) (“Draper's
27   statement during her deposition that Anelli's conduct persisted for
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 1   most of her term of employment at Coeur is, viewed properly,
 2   evidence that supports her allegation that she continued to endure
 3   sexual harassment after November 18.”).19
 4        The cases cited by the City do not require a contrary result.
 5   The City cites McGinest as an example of what is necessary to
 6   create a viable racial harassment claim. But given the egregious
 7   facts in McGinest, it was not even a close call; rather, it was
 8   “clear” that the plaintiff had enough to “survive a motion for
 9   summary judgment.” McGinest, 360 F.3d at 1114.          Because McGinest
10   was a “clear” case, McGinest does not provide a benchmark for the
11   minimum level of facts necessary to survive a summary judgment
12   motion.
13        A closer case is Manatt v. Bank of America, which the City
14   also cites. 339 F.3d 792.       There, for a span of two-and-a-half
15   years, the plaintiff, Li Li Manatt, an American citizen of Chinese
16   descent, worked in the trade finance department of the Bank of
17   American's Portland, Oregon, office. Id. at 794. During that time,
18   Manatt claimed that statements by others created a hostile work
19   environment. Id. at 795.
20
          On   one   occasion,   Manatt   overheard   a   coworker   tell   Bill
21
     Gilmore, Manatt's supervisor, that "I am not a China man, I'm not
22
     like China man with their eyes like that." Id. Gilmore smiled at
23
     the comment. Id.    Another time, Gilmore told the plaintiff, "I've
24
     had the worst kind of trouble with your countrymen." Id.           Later,
25
26        19
            In its moving papers, the City conceded that Short’s “boy”
27   comments may survive the statute of limitations given the time-
     frame.
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 1   the plaintiff overheard a conversation in which coworkers Barbara
 2   Green and Vincent Correia were laughing and saying "China man" and
 3   "rickshaw." Id.    Observing plaintiff, they pulled their eyes back
 4   with their fingers in an attempt to imitate and mock the appearance
 5   of Asians. Id. Correia's cubicle, "often the source of racially
 6   offensive jokes," was next to Manatt's cubicle.         Manatt heard the
 7   phrase "China man" when jokes were told on several occasions. Id.
 8   She heard Correia laugh when a coworker referred to the Chinese as
 9   those "communists from Beijing." Id.
10        Finally, the "most offensive" incident occurred when Manatt
11   mispronounced the word "Lima."     The court explained:
12
          That day, Manatt approached Barbara Green with some
13        documents concerning a transaction in Lima, Peru. In
          describing the documents to Green, Manatt mispronounced
14        ‘Lima.’ Rather than ignore the mispronunciation or
          tactfully correct Manatt, Green informed Manatt that her
15        enunciation was ‘ridiculous.’     Manatt then left, but
          Green refused to drop the issue. Green proceeded to place
16        a telephone call to Peo, a Bank employee from Peru. After
          contacting Peo, Green shouted to Manatt: ‘China woman,
17        China woman, China woman, get your butt over here.’
          Shocked, Manatt returned to Green's cubicle. Green then
18        informed Manatt of her phone call to Peo and demanded
          that Manatt pronounce ‘Lima’ for Peo to hear.
19        By this time, Correia was also present. Manatt again
          mispronounced ‘Lima,’ and Peo corrected her. While this
20        occurred, Green and Correia laughed, attributing
          [Plaintiff's] mispronunciation to her Chinese ethnicity.
21        Several times they jokingly stated: ‘That's because she's
          a China woman.’
22
23   Id. at 795-76.    Notwithstanding these unpleasant events, the Ninth

24   Circuit concluded that the "co-workers’ and supervisor’s offensive

25   actions were neither severe nor pervasive enough to alter the

26   conditions   of   Manatt’s   employment"    and   affirmed   the   district

27   court's grant of summary judgment.         The court indicated that the

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 1   outcome may have been different with additional facts:
 2        We are certainly troubled by the ‘Lima incident’ and by
          the racially offensive gesture made by Green and Correia.
 3        We also recognize that these events caused Manatt to
          suffer pain. If these actions had occurred repeatedly,
 4        Manatt may very well have had an actionable hostile
          environment claim. But these two regrettable incidents
 5        occurring over a span of two-and-a-half years, coupled
          with the other offhand remarks made by Manatt's
 6        co-workers and supervisor, did not alter the conditions
          of Manatt employment. Her hostile work environment claim
 7        must fail.
 8
     Id. at 799 (footnote and internal citation omitted). Manatt is
 9
     materially distinguishable.     In Manatt, the bulk of the harassing
10
     acts were from coworkers.    The supervisor uttered only one comment
11
     "I've had the worst kind of trouble with your countrymen” and he
12
     smiled in response to another. Id. at 795.           In this case, by
13
     contrast, we have multiple racial statements from two different
14
     supervisors (Little and Short) and another individual (Peyton) who
15
     had some level of indirect supervisory authority over Plaintiff.
16
     And the racial statements Plaintiff experienced were of a different
17
     quality than the “offhand remarks” in Manatt.20
18
19
          20
            The City also cites Sanchez v. City of Santa Ana, 936 F.3d
20   1027 (9th Cir. 1990) as an example of case where harassing conduct
21   was not enough to create a hostile work environment. Sanchez,
     however, is not altogether helpful. The court did not specify the
22   nature of the “racially offensive slurs” or the “racially
     offensive” “cartoon” in the case or otherwise elaborate on the
23   nature of the harassing incidents. Id. The court described the
24   incidents in generic terms and often referred to what was “alleged”
     or “claim[ed].” Id. at 1031. The hostile work environment claim was
25   submitted to a bench trial and the district court granted a
     directed verdict in favor of the defendant. In affirming the
26   directed verdict, the court did not provide an extended analysis on
27   the hostile work environment claim. The court simply stated: “We
     cannot say that the district court's ultimate conclusion, that the
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 1        The City notes, and it is true, that the FEHA, like Title VII,
 2   is not a civility code. Lyle, 38 Cal. 4th at 295.              And some acts in
 3   this case, including the “holder thingie” e-mail, are bereft of
 4   racial overtones. That being said, the numerous racial comments
 5   discussed above are more than just uncivil.
 6        The City also notes that Plaintiff has not sought employment
 7   outside the Water Division since 2002, and to the City, this cuts
 8   against Plaintiff’s hostile work environment claim.                  An employee,
 9   however, need not quit or leave under circumstances amounting to a
10   constructive discharge in order to preserve a viable hostile work
11   environment claim. Cf. Manatt, 339 F.3d at 804 (recognizing that a
12   constructive discharge claim and a hostile work environment claim
13   are not equivalent because a constructive discharge claim imposes
14   a “higher standard”).
15
          Plaintiff      has   created   a   triable   issue   as    to    whether   he
16
     experienced harassment of a racial nature that was so severe or
17
     pervasive as to alter the conditions of employment and create an
18
     abusive     work   environment   that    continued   into      the   limitations
19
     period.21
20
21
     plaintiffs failed to prove the existence of a discriminatory
22   atmosphere, is incorrect as a matter of law.” Id. at 1037. Absent
     more information on the nature of the incidents involved and an
23
     articulated analysis as to why the hostile work environment claim
24   failed, the analogical value of Sanchez is not clear and does not
     warrant a grant of summary judgment in favor of the City especially
25   in light of a subsequent FEHA case like Dee.
26        21
             A triable issue exists independent of the “additional
27   harassing conduct” Plaintiff identifies and the “holder thingie” e-
     mail.
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 1               b.   Continuing Violation Doctrine
 2        The next question is to what extent Plaintiff can rely on acts
 3   of harassment that occurred outside the limitations period, i.e.,
 4   before August 21, 2005, in support of his hostile work environment
 5   claim.   Plaintiff invokes the continuing violation doctrine to
 6   reach racial comments outside the limitations period.
 7
          “The   continuing   violation    doctrine   is   arguably   the   most
 8
     muddled area in all of employment discrimination law.” Alch v.
 9
     Superior Court, 122 Cal. App. 4th 339, 365 (2004).        The continuing
10
     violation doctrine "comes into play when an employee raises a claim
11
     based on conduct that occurred in part outside the limitations
12
     period." Richards v. CH2M Hill, Inc., 26 Cal.4th 798, 812 (2001).
13
     In such cases, "an employer [is] liable for actions that take place
14
     outside the limitations period if these actions are sufficiently
15
     linked to unlawful conduct within the limitations period." Id.
16
          To invoke the continuing violation doctrine in FEHA cases, the
17
     employee must show: (1) that the conduct that occurred within the
18
     limitations period is sufficiently similar in kind to the conduct
19
     that falls outside the period; (2) that the conduct has occurred
20
     with reasonable frequency; and (3) that the conduct did not acquire
21
     a degree of permanence such that the employee was on notice that
22
     further efforts at informal conciliation with the employer to
23
     obtain accommodation or end harassment would be futile. Richards,
24
     26 Cal. 4th at 802; see also Yanowitz v. L’Oreal USA, Inc., 36 Cal.
25
     4th 1028, 1059 & n.19 (2005); Dominguez v. Washington Mut. Bank,
26
     168 Cal. App. 4th 714, 721 (2008). “Permanence” in this context
27
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 1   means “that an employer's statements and actions make clear to a
 2   reasonable      employee       that    any    further    efforts    at   informal
 3   conciliation to obtain reasonable accommodation or end harassment
 4   will be futile.” Yanowitz, 36 Cal. 4th at 1059 n.19 (internal
 5   quotation marks omitted).
 6          If all the elements of the continuing violation doctrine are
 7   met (i.e., if a triable issue exists as to each element), the
 8   "harassment should be viewed as a single, actionable course of
 9   conduct," Richards, 26 Cal. 4th at 802.                 At summary judgment, if
10   there is a triable issue as to each of these elements, a court
11   cannot      conclude    that    the    continuing     violation     doctrine    “is
12   inapplicable as a matter of law.” Yanowitz, 36 Cal. 4th at 1060.
13
            Here, with respect to racial comments, the acts at issue are
14
     sufficiently similar in kind, appear to have been reasonably
15
     frequent, and had not acquired permanence before the statutory
16
     period.
17
            In terms of similarity in kind, “similar kinds” of conduct,
18
     “such as acts of harassment” may “take a number of different
19
     forms.” Richards, 26 Cal. 4th at 823.                    The identified racial
20
     statements      at     issue   here,    ranging     from   the     mid-1990's    to
21
     potentially within the limitations period,22 are similar in that
22
     they    were    verbal,    racially-based       and     discriminatory    against
23
     African-Americans. While they ranged in terms of severity and took
24
25
            22
             The word "potentially" is used because, as discussed above,
26   there is a triable issue of fact as to whether the hostile work
27   environment continued into the limitations period (this has not
     been conclusively established).
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 1   different forms, the racist nature of these statement provides a
 2   common thread.        On some level, similarity can also be found in the
 3   general context – all these statements were uttered in Plaintiff’s
 4   workplace as opposed to some conference or employer-sponsored
 5   function.    Although        the   statements      were   uttered    by   different
 6   individuals, this alone does not, as a matter of law, render the
 7   continuing violation doctrine inapplicable.                  Alongside the more
 8   recent “boy” comments from Short, Plaintiff declares that racist
 9   comments have occurred throughout his employment and they continue
10   to persist.       Plaintiff has created a triable issue as to whether
11   the    racial     statements       prior    to   the   limitations   period    were
12   sufficiently similar in kind to the racial statements potentially
13   within the limitations period, including the “boy” comments.
14          In terms of reasonably frequency, identified comments occurred
15   in the mid-1990's (“white power”), late 1990's and early 2000s
16   (including “there are niggers and then there are blacks”), and the
17   2004-2006 time frame (“boy”).               There are also identified comments
18   for which no specific time-frame is discernable from the present
19   record, including Little’s comment “if you can’t get your niggers
20   to do this, I’ll get mine” and Fey’s “Schwarzenigger” comment that
21   occurred sometime during Fey’s employment with the City.                   Coupled
22   with these identified comments, Plaintiff states in his declaration
23   that   he   has    been   subject      to    racist    comments   throughout     his
24   employment      and   they    continue      to   persist.    This    statement    is
25   consistent with Plaintiff’s deposition testimony where he described
26   the “black man” utterance as an example of the “little incidents”
27   that made his life a “living hell.”                    And, on some level, this
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 1   statement     is   consistent     with     Montgomery’s      explanation      of   the
 2   workplace as an environment where “rumors and discussion go, and
 3   you hear things” and Montgomery does not know if there is a basis
 4   for them (and that is why he did not investigate a “nigger”
 5   comment). Montgomery’s testimony is suggestive of a workplace rife
 6   with banter and remarks.          Given the record evidence, Plaintiff has
 7   created   a   triable     issue     as    to     whether   the    racial    comments,
 8   including     those   identified          above,       occurred   with     reasonable
 9   frequency.
10         Finally, in terms of permanence, on certain occasions, racist
11   comments were investigated including the “slave” comment and the
12   “black man” comment.       By taking it seriously and investigating the
13   conduct, the employer does not communicate a message that efforts
14   to end the harassment will be futile.                      Moreover, Peyton, who
15   uttered several remarks, left the City’s employ in 2002.                           His
16   departure cuts against the creation of permanence. In addition, on
17   several occasions, Plaintiff was able to quell further escalation.
18   After   Peyton     uttered    the    “Schwarzenigger”         comment,     Plaintiff
19   inquired as to what he said and Peyton “got quiet and that was it.”
20   Plaintiff     “shut   down”       Little        from   continuing    on    with    his
21   conversation in which he said “there are blacks and then there are
22   niggers.” Finally, Plaintiff also corrected two coworkers who
23   called him “boy.”       While, at times, Plaintiff may have entertained
24   notions that the harassment would not stop, it cannot be said, as
25   a   matter    of   law,   that      the   racial       harassment   prior     to   the
26   limitations cutoff reached a degree of permanence such that it
27   would have been clear to a reasonable employee in Plaintiff’s
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 1   position that further efforts to end the harassment would be
 2   futile.
 3         Because Plaintiff has created a triable issue on each of the
 4   three elements, for purposes of summary judgment, the racial
 5   statements from the mid-1990's onward are properly viewable as
 6   creating a potentially viable, single, actionable hostile work
 7   environment. Richards, 26 Cal. 4th at 802.
 8
          The continuing violation doctrine does not, however, sweep in
 9
     two events which Plaintiff believes were harassing.         The “holder
10
     thingie” e-mail and the sick leave incident with Montgomery.             In
11
     his opposition to the City’s motion, Plaintiff submitted briefing
12
     on why the continuing violation doctrine applies to the racial
13
     comments in this case.      He, however, made no argument that the
14
     continuing violation doctrine should apply to the “holder thingie”
15
     e-mail and the sick leave incident.        Any such argument would be
16
     erroneous in any event.
17
          The “holder thingie” e-mail is electronic communication that
18
     is bereft of racial innuendo and is not sufficiently similar to the
19
     other verbal racial comments in this case which form the basis of
20
     a viable claim.    The sick leave incident is similarly bereft of
21
     racial overtones and, moreover, is a discrete employment event, not
22
     an offensive verbal utterance.       The sick leave incident is not
23
     sufficiently similar to the other racial comments in this case.
24
     Accordingly, the continuing violation doctrine cannot be invoked
25
     with respect to these events.    While these events cannot be used as
26
     substantive components that compromise Plaintiff’s hostile work
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 1   environment claim, whether they can be used for other purposes is
 2   beyond the scope of this order.
 3
 4
                              V. EVIDENTIARY OBJECTIONS
 5
          The City filed various objections to evidence submitted by
 6
     Plaintiff in his opposition. One objection, on the grounds of
 7
     authenticity, went to all the deposition testimony excerpts that
 8
     Plaintiff's    counsel    attached    to    his   declaration.     The     court
 9
     permitted     counsel    to   amend   his    declaration   to    resolve    the
10
     authenticity issue. (Doc. 43.)             This authenticity objection is
11
     overruled.
12
13        The City also objects to certain paragraphs of Plaintiff’s

14   declaration, including, among others, paragraph twenty-two (22) and

15   twenty-three (23).       As to the former, Plaintiff can state in his

16   declaration, just as he can testify, that he has heard racial

17   comments throughout his employment and they continue to persist.

18   He has personal knowledge of such comments, and he has provided

19   numerous examples of them.        To the extent the objection goes to

20   that statement, the objection is denied.            In terms of the latter

21   paragraph, Plaintiff can state in his declaration, just as he can

22   testify, that he has heard racial comments at his place of work

23   including the comment “If you can’t get your niggers to do this,

24   I’ll get mine.”     He has personal knowledge of such comments.               A

25   hearsay objection lacks merit because the racial comments are not

26   being offered for, and are relevant without regard to, the truth of

27   their content; rather, they are relevant, at a minimum, to show the

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 1   effect on the hearer (Plaintiff).               To the extent the City’s
 2   objection goes to that statement, it is denied. In denying summary
 3   judgment on the FEHA harassment claim, the court did not rely on
 4   any other matter in Plaintiff’s declaration.            The City’s remaining
 5   objections to Plaintiff’s declaration are denied as moot.
 6          The City also objects to certain exhibits attached to the
 7   declaration of attorney Gavin, including Exhibit H, which is a copy
 8   of    the   “documentation”   or    web     searching    regarding    the   word
 9   “niggardly.”      This documentation was specifically referred to and
10   covered in Plaintiff’s deposition, the transcript of which the City
11   included in their moving papers. (Pl. Dep. 190-193.) At a minimum,
12   it is relevant for background, which is how it has been used in
13   this order. The City’s objection is denied.             The other exhibits to
14   which the City objects, Exhibits C and D, played no role in this
15   order.      The objection to these exhibits is denied as moot.
16
                                   VI.     CONCLUSION
17
            For the reasons discussed above:
18
19          1. Summary judgment on Plaintiff’ Title VII disparate impact

20   claim is GRANTED in favor of the City.

21          2.   Summary   judgment   on    Plaintiff’s      Title   VII   disparate
22   treatment claim is GRANTED in favor of the City.
23
            3. Summary judgment on Plaintiff’s Title VII retaliation claim
24
     is GRANTED in favor of the City.
25
            4. Summary judgment on Plaintiff’s claim under § 1981 is
26
     GRANTED in favor of the City.
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 1            5. Summary judgment on Plaintiff’s FEHA discrimination claim
 2   is GRANTED in favor of the City.
 3            6. Summary judgment on Plaintiff’s FEHA harassment claim is
 4   DENIED.
 5
              Defendant shall file a proposed order conforming to this
 6
     memorandum decision within five (5) days following service of this
 7
     decision.
 8
              Consistent with Rule 56(d)(1), both parties shall have five
 9
     (5) days following service of this decision to file a list of
10
     material facts which each party believes are not genuinely at issue
11
     for purposes of trial.      If separately filed by the parties, these
12
     lists shall not exceed five pages.      To the extent practicable, the
13
     parties should meet and confer to determine whether and to what
14
     extent any material facts are agreed upon for purposes of trial.
15
     Agreed upon facts should be listed in a joint filing.           Any such
16
     joint filing has no page limitation.
17
18   IT IS SO ORDERED.

19
     Dated:     May 26, 2009               /s/ Oliver W. Wanger
20   9i274f                           UNITED STATES DISTRICT JUDGE
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